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   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Tuesday, February 11, 2020
                             Debtors.             ) 10:00 AM
   7     _____________________________            )
                                                    ORAL ARGUMENT ON IMPAIRMENT
   8                                                OF SUBROGATION CLAIMS

   9                                                STATUS CONFERENCE REGARDING
                                                    CONFIRMATION
  10
                                                    DEBTORS' MOTION TO REJECT
  11                                                VLAZAKIS CONTRACT AND GRANT
                                                    RELATED RELIEF [5272]
  12
                                                    MOTION OF WILLIAM B. ABRAMS
  13                                                FOR RECONSDIERATION OF THE
                                                    ORDER PURSUANT TO 11 U.S.C.
  14                                                SECTIONS 363(B) AND 105(A)
                                                    AND FED. R. BANKR. P. 6004
  15                                                AND 9019 FOR ENTRY OF AN
                                                    ORDER (I) AUTHORIZING THE
  16                                                DEBTORS AND TCC TO ENTER INTO
                                                    RESTRUCTURING SUPPORT
  17                                                AGREEMENT WITH THE TCC,
                                                    CONSENTING FIRE CLAIMAINT
  18                                                PROFESSIONALS, AND
                                                    SHAREHOLDER PROPONENTS AND
  19                                                (II) GRANTING RELATED RELIEF
                                                    [5577]
  20
                                  TRANSCRIPT OF PROCEEDINGS
  21                         BEFORE THE HONORABLE DENNIS MONTALI
                               UNITED STATES BANKRUPTCY JUDGE
  22
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  25     transcript provided by transcription service.

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   1     SAN FRANCISCO, CALIFORNIA, TUESDAY, FEBRUARY 11, 2020, 10:00 AM

   2                                            -oOo-

   3             (Call to order of the Court.)

   4                 THE COURT:      Good morning, everyone.

   5                 IN UNISON:      Good morning, Your Honor.

   6                 THE CLERK:      The matter of PG&E Corporation.

   7                 THE COURT:      Mr. Benvenutti, are you still up to bat on

   8     this one?

   9                 MR. BENVENUTTI:         I am, Your Honor.

  10                 THE COURT:      Okay.

  11                 MR. BENVENUTTI:         Thank you.

  12                 THE COURT:      Let's do it.       You know, I'm preparing for

  13     today.     And looking at the motions, it had dawned on me that if

  14     PG&E hadn't had the horrible fires, this dispute with Vlazakis

  15     would have been settled about a year ago.                And it's -- I mean,

  16     it's so unrelated to the fires and why the company is in

  17     bankruptcy.     So like how did this ever get to this point?

  18                 MR. BENVENUTTI:         Well, Your Honor, I think the history

  19     may actually belie that because there has been a history of,

  20     what, four years.

  21                 THE COURT:      A lot of time.

  22                 MR. BENVENUTTI:         There's been a history of four years

  23     with this issue --

  24                 THE COURT:      Yeah.

  25                 MR. BENVENUTTI:        -- which has not -- had not certainly

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   1     as to the time of the bankruptcy filing led to a resolution.

   2                THE COURT:      I know.      But if I had been a superior

   3     court judge, two years ago I would've sent you all to mediation

   4     and locked you up.       That would have been the end of it.              You

   5     would have come out all settled.

   6                MR. BENVENUTTI:        Your Honor, who's to say that's not

   7     the right result?       But that's not one that any of us can

   8     achieve as we're standing here today.

   9                So Peter Benvenutti, Keller & Benvenutti, on behalf of

  10     PG&E.    So, Your Honor --

  11                THE COURT:      So I want you to focus on -- let's see if

  12     I can break it down correctly.            I went back and reviewed the

  13     motion to -- for relief of stay and today's motion.                   I know

  14     you're going to say the things you want to say, and I will let

  15     you.    But can we break it down into simple terms that

  16     there's -- the two parties didn't choose each other but they

  17     ended up with common wall.            And they tried in the settlement --

  18     in the agreement, excuse me, not the settlement.                   The agreement

  19     in 2017, PG&E said we can do this fix, we'll give you the

  20     proper line, we'll divide the lot, et cetera, et cetera.                       But

  21     for reasons perhaps both parties -- out of their control, that

  22     was not doable.

  23                So then the second approach was, okay, PG&E said we'll

  24     do this other fix.       And then PG&E decided, no, that's

  25     inconsistent with our own needs for the underground -- the gas

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   1     lines.

   2                And so then the next thing that happened is PG&E sues

   3     the Vlazakises for nuisance and injunctive relief, nothing

   4     about contracts.       So it strikes me -- and my comments before

   5     were not to ignore the history.            But analytically, it seemed to

   6     me the course of conduct was such there's no more contract to

   7     even talk about.       There's two people with a wall between them

   8     that's got a problem and that couldn't fix it consensually.                       So

   9     the company, your client, the debtors, sued for -- essentially,

  10     we want to tear the wall down, nothing about a contract.                       There

  11     wasn't a breach of contact.           It was for injunctive relief that

  12     the Vlazakises are encroaching on our property and they're a

  13     nuisance and please fix our rights.

  14                So with that background, have I got it right at least

  15     that --

  16                MR. BENVENUTTI:        Yeah.    Yeah.    I can quibble with the

  17     characterizations, but I think the essentials are correct and

  18     certainly for these purposes.

  19                That would be fine if the Vlazakises were not

  20     attempting now to enforce the contract.              And they're trying to

  21     enforce the contract not just in terms of a damage claim;

  22     they're trying to seek specific performance.

  23                PG&E's position, which we made no secret of, is that

  24     PG&E was excused from further performance under the contract

  25     with the first failed attempt --

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   1                THE COURT:        Right.

   2                MR. BENVENUTTI:         -- to solve the problem.

   3                THE COURT:        Or maybe the second one but --

   4                MR. BENVENUTTI:           Well, very well.      But there's a

   5     dispute about that.          That's disputed.       And what the Vlazakises

   6     say is we have a contract that still has performance due on

   7     PG&E's part.        So --

   8                THE COURT:        Well, that --

   9                MR. BENVENUTTI:         -- they don't dispute that, as to

  10     PG&E, there's future performance required or --

  11                THE COURT:        But if there were on bankruptcy and you

  12     didn't have the motion to reject as a tool in your toolbox,

  13     what would your defense be?

  14                MR. BENVENUTTI:           The defense would be defend.          The

  15     defense would be that performance was excused.

  16                THE COURT:        There's no contract anymore.

  17                MR. BENVENUTTI:           There's no -- that's right.

  18                THE COURT:        Okay.

  19                MR. BENVENUTTI:           That's exactly right.          And we'll --

  20                THE COURT:        So why isn't that a good defense if you go

  21     there now?

  22                MR. BENVENUTTI:           Well, it might be a good defense,

  23     Your Honor.    But in order to get there, what we're going to

  24     have to do which we're going to have to litigate a jury trial

  25     in Superior Court.          And we run the risk of losing.

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   1                 THE COURT:     Well, that's --

   2                 MR. BENVENUTTI:       Okay?    We run the risk of losing.

   3     And if we lose, then we end up with the prospect of specific

   4     performance of a contract which, if imposed on PG&E, would be

   5     burdensome, would be disruptive.            It's disruptive in two

   6     respects.

   7                 THE COURT:     Well, but maybe that assumes that -- well,

   8     okay, yes, disruptive because they have to redo -- listen, I

   9     happen to know enough about the underground gas pipes that go

  10     through West Berkeley.         I mean, it's a problem that everybody,

  11     including you and I who live in the East Bay, that know about.

  12     So --

  13                 MR. BENVENUTTI:       Right.

  14                 THE COURT:     But it's a problem.

  15                 MR. BENVENUTTI:       So we're here -- we're here now

  16     because the Vlazakises are taking the position that it is an

  17     executory contract.

  18                 THE COURT:     Well, in this motion --

  19                 MR. BENVENUTTI:       And --

  20                 THE COURT:     -- today, they say it's not an enforceable

  21     one that you can reject.

  22                 MR. BENVENUTTI:       Well, they're saying that.           And the

  23     reason they say that is because they say, well, it's executory

  24     on PG&E's part.      It's not executory as to them because they

  25     don't have obligations of future performance.

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   1                THE COURT:       But you don't agree with that.

   2                MR. BENVENUTTI:         I don't agree with that, no.

   3                THE COURT:       All right.

   4                MR. BENVENUTTI:         No.    If -- take their premise if

   5     they -- that it -- that there are future obligations or

   6     performance on PG&E's part.

   7                THE COURT:       Right.

   8                MR. BENVENUTTI:         Then if that's the case, with that

   9     assumption goes the conclusion that the contract remains is

  10     enforceable.        And if the contractor remains enforceable, then

  11     they also have obligations under the contract.

  12                THE COURT:       Well, no, I agree with you that they -- it

  13     seems like they do.         I mean, but the point is, can you make the

  14     argument to the Superior Court, whether it's in front of a jury

  15     or on motion, to say there is no more contract anymore --

  16                MR. BENVENUTTI:         Your Honor, we --

  17                THE COURT:       -- because of the course of -- the pattern

  18     including, I might add, your client's decision to not to

  19     enforce a contract but to declare rights when, you know -- as

  20     to the common wall and the problems of the wall?

  21                MR. BENVENUTTI:         Well, Your Honor, here's what I'm

  22     told.    All right?      I'm not a state court litigator, so I'm

  23     relying upon what I've been told by PG&E's litigation counsel

  24     and the state court litigation.             What I've been told is if this

  25     cross-complaint is permitted as to the contract claims that

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   1    includes this specific performance request, then it is

   2    virtually certain that there will be a jury trial.                   These

   3    matters will be resolved as part of a single jury trial.                      It's

   4    not going to be susceptible to summary judgment.

   5                THE COURT:     You don't think --

   6                MR. BENVENUTTI:       This is not summary judgment.

   7                THE COURT:     You don't think as a matter of law you can

   8    argue that there's no contract any longer?

   9                MR. BENVENUTTI:       We may be able to do that, Your

  10    Honor.    But to get there, we're going to end up with losing the

  11    trial date.     And we have the risk which we think we have a

  12    right in bankruptcy to protect ourselves against.                   We have the

  13    risk that the judge sees this -- or the jury sees this

  14    differently in Superior Court.            And we end up having to perform

  15    a contract which is inherently burdensome, inherently

  16    disruptive, for the reasons that have been spelled out in the

  17    motion.

  18                THE COURT:     Well, I --

  19                MR. BENVENUTTI:       And so --

  20                THE COURT:     Well, what about --

  21                MR. BENVENUTTI:       -- that's one of the --

  22                THE COURT:     Well, what about the criticism of this is

  23    a litigation tactic?

  24                MR. BENVENUTTI:       Well --

  25                THE COURT:     They're making some pretty good arguments

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   1    about them.

   2                MR. BENVENUTTI:       Well, there's no -- there's no

   3    question, there's no question that it was the prospect of

   4    having to respond to this cross-complaint that caused PG&E to

   5    focus on the contract and the prospect and rejection of it.                    No

   6    question about that.

   7                THE COURT:     But one of the things we both learned in

   8    first-year law school is when you sue somebody, you might get

   9    sued back.

  10                MR. BENVENUTTI:       Absolutely.

  11                THE COURT:     Right?

  12                MR. BENVENUTTI:       No question.

  13                THE COURT:     That's why lawyers don't sue their former

  14    clients usually.       So you sue them and they sue back.              Guess

  15    what?

  16                MR. BENVENUTTI:       No -- no --

  17                THE COURT:     Welcome to the world.

  18                MR. BENVENUTTI:       No question.

  19                THE COURT:     So, I mean, but you could've made this

  20    motion to reject before you sued them.               I think that's what

  21    troubles me here, is you're now saying, well -- you're not

  22    agreeing with me, but you're saying maybe there isn't a

  23    contract anymore because there was a failure of -- no, no.

  24    There's just simply no longer a contract.               But some superior

  25    court judge or some jury might say there is.                Well, let's

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   1    switch topics.

   2                MR. BENVENUTTI:        Let -- may I address that point,

   3    Judge?

   4                THE COURT:     Yes.

   5                MR. BENVENUTTI:        Because I think the Agarwal case is

   6    instructive on this point.             I'm sure the Court has looked at

   7    that case.     And --

   8                THE COURT:     Of course.

   9                MR. BENVENUTTI:       -- in essence, in essence, what it

  10    says -- in essence, what it says is that the fact that a

  11    rejection motion may be brought because there's a litigation

  12    advantage to it doesn't make the rejection motion in bad faith.

  13    In that case, what the court did -- the bankruptcy court looked

  14    at the motion on the merits, made a judgment that it was

  15    justified by the business judgment of the debtor, and the Ninth

  16    Circuit upheld that.        And it mentioned bad faith.              And it

  17    said -- essentially, it's a decision.               That's not bad faith

  18    even though, even though if sustained claims by the plaintiff,

  19    the doctor who had been nonrenewed by the debtor medical

  20    association, sustained claims by the doctor for retaliatory

  21    termination and for unfair competition --

  22                THE COURT:     Okay.

  23                MR. BENVENUTTI:       -- which are claims which certainly

  24    have elements of bad faith about them.                But I think the lesson

  25    to take from that case is relevant here, is that the

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   1    proposition that there is a litigation benefit to bringing

   2    rejection doesn't negate the appropriateness of a business

   3    judgment analysis which is, as the Court is aware, a highly

   4    deferential standing.

   5                THE COURT:     Yeah.       I understand.     But again, like

   6    every case, it's fact-driven.            And it's in context.          So the

   7    history of this case is, as I said, PG&E goes to their next

   8    door neighbor and says let's try to fix this, we'd like to do

   9    it this way.     That fails.       Then they say we'll try to do it

  10    this way.     And then PG&E itself says, well, I'm sorry, we got a

  11    bad -- that was a dumb idea, we shouldn't have suggested it to

  12    you because it's going to screw up our gas line.                    So then

  13    instead of doing anything else, they sue them.

  14                Anyway, let's switch topics.           What happens if I grant

  15    the motion to reject?         Does the wall fall down?          I mean, am I

  16    supposed to sit here and say that's a good result, this wall

  17    has been there for longer than you've been around, maybe longer

  18    than I've been around, I don't know.              You go in there.        Your

  19    side takes down your side of the wall.               And the Vlazakises'

  20    wall falls down.       That's not a good thing.

  21                MR. BENVENUTTI:        Well, Your Honor, two points to that.

  22    Number one, I expect that the Superior Court in fashion relief

  23    will listen to what the Vlazakises have to say --

  24                THE COURT:     Right.

  25                MR. BENVENUTTI:       -- about what happens with the wall.

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   1    And there is an opportunity for appropriate relief that's

   2    consistent with their interest to be fashioned there.                   I have

   3    no idea what that is.         But that's an issue that the Superior

   4    Court can deal with.

   5                THE COURT:     No.    But you want me to take that away.

   6                MR. BENVENUTTI:       No.

   7                THE COURT:     Well, okay.       So I grant the motion to

   8    reject.    Does something happen to the wall before you go to

   9    trial?

  10                MR. BENVENUTTI:       No.    Nothing is going to happen to

  11    the wall before we go to trial.             The reason --

  12                THE COURT:     Why --

  13                MR. BENVENUTTI:       The reason --

  14                THE COURT:     Why not?      Then what's the purpose of the

  15    rejection?

  16                MR. BENVENUTTI:       What it does is it takes away from

  17    the Vlazakises the ability to obtain specific performance of

  18    the contract.

  19                THE COURT:     But it takes away from you or your

  20    colleague the ability to say, you know, we don't believe there

  21    even is a contract, but the bankruptcy judge bought our line

  22    that there is one that allows us to reject.                What if you tell

  23    the Superior Court that the Bankruptcy Court determined that

  24    there's no longer any contract?

  25                MR. BENVENUTTI:       Well, Your Honor, our position -- our

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   1    position has been all along that we're bringing this motion,

   2    reserving the right to assert the contract defenses.

   3                THE COURT:     Well, I know.

   4                MR. BENVENUTTI:       And so look, it -- we're trying to

   5    thread the needle.        There's no question about that.             We're

   6    trying to thread the needle here.             The issue -- I submit the

   7    issue for this Court is are we properly bringing a request for

   8    rejection of the contract, is it supported by the business

   9    judgment rule, and is stay relief -- should the request for

  10    stay relief as to the contract claims be denied because the

  11    contract issues are severable from everything else in the

  12    litigation and because they impose -- if litigated as part of

  13    the case in the Superior Court, they would impose an undue

  14    burden on PG&E --

  15                THE COURT:     But see I'm having trouble with that

  16    because, as I was saying, I went back and read the complaint

  17    that you -- your co-counsel filed.

  18                MR. BENVENUTTI:       Um-hum.

  19                THE COURT:     And it doesn't say anything about a

  20    contract.     It says our neighbor's wall is encroaching, they're

  21    trespassing, please declare that, you know, what they say, tall

  22    fences make good neighbors.            Well, crumbling fences make

  23    litigating neighbors.

  24                MR. BENVENUTTI:       Separate walls would make good

  25    neighbors.

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   1                 THE COURT:     That's right.        But -- so, I mean, I don't

   2    understand -- you're telling me that if I grant the motion to

   3    reject, the wall doesn't come down?               I mean, I -- why wouldn't

   4    it?      I mean, what is -- I mean, leaving aside that maybe

   5    actions in the Superior Court, you want me to deny the motion

   6    for relief today and grant the objection -- or deny it in part.

   7    And I --

   8                 MR. BENVENUTTI:       Deny it in part.

   9                 THE COURT:     I'm having trouble defining -- now that

  10    I've studied the complaint, I'm having trouble knowing how I

  11    grant it so you can go forward but they can't if --

  12                 MR. BENVENUTTI:       But, Your Honor, that's not the case.

  13    What we're saying is they can litigate every defense they have.

  14    What they can't litigate is essentially request for affirmative

  15    relief based upon this contract because we're seeking to have

  16    it rejected.      If it's rejected, it's clear they can't get

  17    specific performance from it.

  18                 And our position is that the disputes relating to the

  19    contract, including their damage claim, if they have a damage

  20    claim, if we breach the contract, if we breached it before or

  21    we breach it -- there's a contract alive to be breached by

  22    rejection.      If they have a damage claim -- unlike virtually

  23    every other counterparty in a contract rejection situation,

  24    they look to recover a hundred percent of their claim.

  25                 THE COURT:     Well, that's what you get to do when you

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   1    sue a solvent company.

   2                MR. BENVENUTTI:       Well, that's right.         That's exactly

   3    right.     So that significantly relates to the burden,

   4    significantly relates to the relevant burden that's associated

   5    with it.

   6                To respond to the Court's question about what happens

   7    if you give us the relief we want and deny the relief that they

   8    want, well, they're going to have to litigate with the Superior

   9    Court over whether as a matter of all the title issues, not the

  10    contract but the title issues, are they entitled to have the

  11    wall stay up or are we entitled to have it taken down.                   The

  12    point is --

  13                THE COURT:     See, that to me is threading the needle.

  14    That's like taking a simple set of facts -- I mean, it is a

  15    simple set of facts.        There's this old wall.          And the neighbors

  16    are disagreeing about what's the fate of the wall for their

  17    various reasons.       And you want me to break it into two parts

  18    like we're back in law school, like the contract part the

  19    specific performance part.

  20                But it's one set of operative facts.              Two neighbors

  21    are locked in fate together because of this joining wall

  22    problem.

  23                MR. BENVENUTTI:       Well --

  24                THE COURT:     Anyway, let me save you time.

  25                MR. BENVENUTTI:       All right, yeah.        I'll save a few

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   1    minutes for rebuttal.

   2                THE COURT:       Yes.

   3                MR. BENVENUTTI:          I would say that the contract issue

   4    is separable.        So --

   5                THE COURT:       Okay.      I'll -- you know, I'm not --

   6                MR. BENVENUTTI:          The contract issue is separable.          And

   7    that's what we're seeking to do.              We're seeking to sever the

   8    contract issue through this Court's ruling.

   9                THE COURT:       Mr. Berestka, are you here or someone else

  10    today?

  11                MR. BERESTKA:       Yes, Your Honor.

  12                THE COURT:       And I'm going to give you one of my

  13    quizzes too, my first-year law school quiz.                 This is my first

  14    year in bankruptcy quiz.

  15                If your client had filed bankruptcy and PG&E had not,

  16    wouldn't your client be able to reject the contract as an

  17    executory to that contract because it still had performance?

  18                MR. BERESTKA:       Well, who's suing whom in that

  19    situation?

  20                THE COURT:       No, no, no, not who's suing whom.            If PG&E

  21    hadn't filed bankruptcy but, you know, whatever the correct

  22    entity had filed bankruptcy and everything else was factually

  23    the same, wouldn't your client have the right under the

  24    Bankruptcy Code to reject the contract even though it doesn't

  25    have a whole lot of stuff left to do?               It still has to

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   1    cooperate with the neighbor.             Isn't that -- wouldn't that

   2    follow?

   3                MR. BERESTKA:      Well, the question on that, Your Honor,

   4    you're kind of flipping it to -- in an odd way to me.                    The --

   5                THE COURT:     I'm trying to analyze it from is there an

   6    executory contract or not.             And you make a strong argument that

   7    there's full performance on your side; therefore, there's no

   8    rejectable contract.

   9                And I'm saying, well, I think there is still

  10    performance on your side.          And I am proving it by saying if

  11    your client had filed bankruptcy, they could reject what --

  12    they get to call up PG&E and say don't you dare come back on my

  13    property, I'm just rejecting my contract with you.

  14                MR. BERESTKA:      Well --

  15                THE COURT:     And they would be out of luck.

  16                MR. BERESTKA:      -- I'm not so sure that they could.                I

  17    mean, it's --

  18                THE COURT:     Well, what would happen if they locked

  19    them out?     They couldn't come and fix the -- do the wall.

  20                MR. BERESTKA:      Well, there's no evidence that was

  21    presented in the record of obligations remaining on behalf of

  22    my clients.     They were really negative covenants to --

  23                THE COURT:     But that's --

  24                MR. BERESTKA:      -- not interfere --

  25                THE COURT:     -- my point.        That's the thing about

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   1    executory contracts.        Even negative covenants are future

   2    performance.     In other words, I'll put it to you - -if your

   3    client had rejected and PG&E said we're here to fix the wall

   4    and your client said no, don't -- I'm locking you out because

   5    I'm going to reject the contract, I think they would have been

   6    able to do that.

   7                Anyway, I'll go back to the real case.              Tell me --

   8                MR. BERESTKA:      I'm sorry, Your Honor.          I just want to

   9    state my appearance.        Ron Berestka for the Vlazakis defendants.

  10                THE COURT:     Sure.       And I'm going to give you your full

  11    time.    I just -- I really want to test it.

  12                So, well, tell me if you would though why Mr.

  13    Benvenutti's remedy of sort of splitting the contract in parts

  14    and letting you litigate the breach of contract issue of not --

  15    the specific performance --

  16                MR. BERESTKA:      Sure.     Well, there's another aspect of

  17    the contract claim included within the breach of contract and

  18    the good faith and fair dealing.             And there's some aspects of

  19    negligence cause of actions as they've discussed -- as they've

  20    been discussing as well.

  21                Let's just go with the routine where you present to

  22    Mr. Benvenutti.       Say this case goes to trial on equitable

  23    issues in May, and they prevail on the nuisance and trespass

  24    claim, my client, then, is liable to them for damages, okay,

  25    and their damages here that they're alleging in the underlying

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   1    case are not just nominal damages.             They're saying there's all

   2    kinds of delay and construction costs and things of that nature

   3    that they can then proceed to obtain against my client --

   4                THE COURT:     That's not a very persuasive argument, is

   5    it?

   6                MR. BERESTKA:      Well --

   7                THE COURT:     The wall's been there for sixty years.

   8                MR. BERESTKA:      Well, it has been there for sixty

   9    years, but they're saying that it's taken us three years of

  10    fighting and they've had people waiting in the wings, and I'm

  11    sure that's going to be --

  12                THE COURT:     I know, but if it encroached there or if

  13    there was a prescriptive easement, it's been there for sixty

  14    years, hasn't it?

  15                MR. BERESTKA:      Well, yes.       That's one of the defenses

  16    we have in the case.

  17                THE COURT:     That's one of your theories.             Your theory

  18    is our wall has a right to lean up against your wall.

  19                MR. BERESTKA:      Well, the problem, they've got a

  20    summary judgment motion in state court right now trying to

  21    defeat that aspect of the claim.

  22                THE COURT:     Right.

  23                MR. BERESTKA:      So let's -- if that goes as planned for

  24    them, they have a jury -- they don't have a jury, they have

  25    equitable --

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   1                THE COURT:     Right.

   2                MR. BERESTKA:      -- findings by the judge that says, oh,

   3    yeah, Vlazakis, you trespassed.             This was a nuisance.        There's

   4    a law that delays here.         There's millions of dollars in

   5    construction costs.

   6                Now, if we're not allowed to have our contract

   7    claim -- see, those are all self-inflicted wounds.                  If we

   8    establish that there's a contract here, then those are all

   9    self-inflicted wounds on their part.

  10                THE COURT:     Well --

  11                MR. BERESTKA:      There wouldn't be a delay.

  12                THE COURT:     No, but the point is if you convince me to

  13    adhere to the view that there's a contract, then it's

  14    rejectable, isn't it?         I mean --

  15                MR. BERESTKA:      Well, but if it's rejectable, Your

  16    Honor, what happens after that?             That's the next question.

  17                THE COURT:     Well, that's what I asked Mr. Benvenutti.

  18                MR. BERESTKA:      Well, the next question is just because

  19    it's rejectable or it's rejected even by this Court, it doesn't

  20    dissolve the whole contract.            We're going to be back here,

  21    probably, deciding my client's claim for damages, but we may

  22    have already -- my clients may have already had a result in the

  23    state court finding them liable for damages, and then here we

  24    get to come back to the federal court, we could have

  25    inconsistent findings.

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   1                THE COURT:     Well, but -- no, that's not right, because

   2    if there's a contract rejected, you have a right to file a

   3    claim for damages --

   4                MR. BERESTKA:        Yes.

   5                THE COURT:     -- and the other side has a right to

   6    object, and the court -- this Court can adjudicate the claim

   7    for damages.     It's not a different -- it's the same claim, same

   8    damages, right?

   9                MR. BERESTKA:        Well, not it isn't, because --

  10                THE COURT:     No?

  11                MR. BERESTKA:      -- they've got underlying damages that

  12    they're alleging in the state court that --

  13                THE COURT:     I know, but both sides weren't damaged.

  14    One side or the other --

  15                MR. BERESTKA:        Exactly.

  16                THE COURT:     -- if we're approaching this from a

  17    contract point of view.

  18                MR. BERESTKA:        Exactly.     And their damages in the

  19    state court could be defeated by the existence of the contract

  20    which this Court's not going to get till a much later date when

  21    it determines whether or not we have a valid contract.

  22                THE COURT:     But don't -- but what does the superior

  23    court judge do if the bankruptcy court determines there is a

  24    rejectable contract and it's rejected?                There's nothing more to

  25    try about damages, is there --

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   1                MR. BERESTKA:      No.

   2                THE COURT:     -- in the superior court?

   3                MR. BERESTKA:      Well, the problem is that then you

   4    create an estoppel or res judicata situation in the state court

   5    where the horse is out of the barn.              We can never bring the

   6    contract as a defense to their claim that they suffered some

   7    damages.

   8                THE COURT:     But that would be the truth if they had

   9    filed the motion at the outset.             In other words, you make the

  10    point that got to my attention here is PG&E playing games?                        Did

  11    they sit tight, sue you?          You didn't invite the suit.           They

  12    sued, and now they want to reject the contract.                 Well, if they

  13    reject the contract, I would assume the superior court judge

  14    would say whatever contract it was has been breached.

  15                The judge couldn't say there is one and I'm going to

  16    enforce it if the bankruptcy court hadn't already said there

  17    was one and then I'm allowing to be breached, right?

  18                MR. BERESTKA:      Well, that's the question I don't know

  19    the answer to on this whole thing.             We go back to the state

  20    court.     If you say that -- if you allow the rejection of the

  21    contract, we go back to state court, then it's breached.                      I

  22    guess the big question then that we're faced with is then do

  23    they not recover damages against my client for anything in the

  24    case?    I'm not sure that's the answer at this point.

  25                THE COURT:     If the debtors are allowed to reject --

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   1    reject means lawful breach.

   2                MR. BERESTKA:      Sure.

   3                THE COURT:     And if there is a rejection and no

   4    damages, then the counterparty has no claim.

   5                MR. BERESTKA:      Yes.

   6                THE COURT:     If there is a rejection and the

   7    counterparty suffers damage, then the counterparty has a right

   8    to file a claim.       That's all there is to it, I think.              I mean,

   9    that's why I'm having trouble understanding how -- well,

  10    frankly, I don't understand what happens if I grant the motion

  11    to reject and the bankruptcy debtor -- the debtors can invoke

  12    Section 365, what is -- I still don't know what's left to do in

  13    the superior court.

  14                Mr. Benvenutti made an argument about it, but I don't

  15    know.    I don't know what happens to the wall or what happens to

  16    the damage claim.

  17                MR. BERESTKA:      Well, there's no contract claim to be

  18    asserted in the trial court at that point in time because it's

  19    been rejected.

  20                THE COURT:     Right.

  21                MR. BERESTKA:      And if it's just deemed a breach of the

  22    contract, I, frankly, don't know what the court does with it

  23    because I've never seen anything like this.

  24                THE COURT:     Well, what do you think about my question

  25    to Mr. Benvenutti, is there even a contract anymore?                   I mean, I

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   1    remember in law school when you contract to sing in the opera

   2    and the opera singer gets sick, you don't go get somebody else.

   3    There's a failure of performance and there's no contract, or

   4    whatever the facts are.

   5                So here, if I got it right, your clients and the

   6    debtors entered into a contract to do the fix, and the City of

   7    Oakland says no, can't do it.             It's -- it messes up the lot

   8    lines or whatever, you know what it says.

   9                So then they said okay, let's do this other thing, and

  10    PG&E was prepared to do it and your clients were, and then PG&E

  11    said no, we can't do that because that messes up our pipeline.

  12    So then, nothing happened until they sued.

  13                So by the time they sued, from my point of view, it

  14    seems like there's no more contract.

  15                MR. BERESTKA:       Well, that was the issue.            We're saying

  16    there is a contract and we're try --

  17                THE COURT:      But what if I were to rule that today's

  18    motion should be denied because -- not because it's

  19    unrejectable, but because there is no more contract?

  20                MR. BERESTKA:       Well, you'd be reaching the merits of

  21    the contract.        I don't know if we -- that's been --

  22                THE COURT:      Well, unfortunately, I'm presented with

  23    facts that aren't really in dispute, and why -- I mean, look,

  24    I -- this goes back to my opening comment, I'm convinced that

  25    if there had never been a bankruptcy because of the fires, your

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   1    client and the company would have either settled this case a

   2    long time ago, or the superior court would have decided all

   3    these issues, and now I'm confronted with a choice:                   grant the

   4    motion to reject which implicitly means there is a contract or

   5    deny the motion to reject either because there is no longer a

   6    contract or because of your argument that it's not executory

   7    because there's no more performance on your side.                   But I don't

   8    buy that second argument because I think negative covenants are

   9    contractual obligations that can be breached.

  10                MR. BERESTKA:      And if there is no contract, why are we

  11    here for rejection of the contract?

  12                THE COURT:     Well, because you made a motion to relief

  13    from stay.     I listened to the argument.            Mr. Benvenutti said

  14    we're going to reject.         I said okay, let's bring them together.

  15    I didn't -- I didn't say there is a contract to reject.                    I said

  16    they'll be a motion to reject, and you said no they can't

  17    reject because your performance is done, and I just analyzed

  18    the facts a little differently to say I don't think there's a

  19    contract.     So tell me why that's a crazy argument.

  20                MR. BERESTKA:      No, I mean that --

  21                THE COURT:     Not that it goes to the merits or not that

  22    I'm taking away what the superior court would do.                   Just

  23    wouldn't it -- don't you think it's fundamental for a

  24    bankruptcy court to permit rejection of a contract to determine

  25    that there is one to reject?

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   1                MR. BERESTKA:      Well, at this juncture, I don't think

   2    the Court is supposed to be deciding the merits of the

   3    contract.

   4                THE COURT:     I'm not.      I'm deciding whether there is a

   5    contract.

   6                MR. BERESTKA:      Well --

   7                THE COURT:     Is there a contract anymore?

   8                MR. BERESTKA:      Yeah, we say there is, and that's the

   9    whole point.

  10                THE COURT:     But why not?       Why is there, given the

  11    history that I just recited?

  12                MR. BERESTKA:      Well, the --

  13                THE COURT:     If you're colleague --

  14                MR. BERESTKA:      No, this is Mr. Vlazakis.            He's also an

  15    attorney, Your Honor.

  16                THE COURT:     If Mr. -- well, he's an attorney, I know.

  17    I don't mind if he wants to be heard.              I don't --

  18                MR. BERESTKA:      Yeah, and Mr. Vlazakis if you want to

  19    make a --

  20                THE COURT:     He's your client, he's -- and Mr.

  21    Vlazakis, why --

  22                MR. BERESTKA:      He's an attorney.         He's got his own

  23    right.

  24                MR. VLAZAKIS:      I would like to be heard.

  25                THE COURT:     Why is there a contract?

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   1                MR. VLAZAKIS:      I would like to be heard.

   2                THE COURT:     Yes, sir.

   3                MR. VLAZAKIS:      First of all, your hypothetical with

   4    the opera singer doesn't apply because PG&E has lots of

   5    resources, lots of contacts. They can hire a contractor and the

   6    best structural engineers to do the structural upgrade to this

   7    fifty-foot wall.

   8                THE COURT:     Right.      But they'll have to change their

   9    gas line plans, right?

  10                MR. VLAZAKIS:      Not materially.

  11                THE COURT:     Well --

  12                MR. VLAZAKIS:      They knew --

  13                THE COURT:     Okay.

  14                MR. VLAZAKIS:      First of all, they misrepresented the

  15    facts.    They said the second project was unfeasible.                 They

  16    never admitted their error that they were double-tracking and

  17    they had inconsistent plans.

  18                THE COURT:     Well, that statement might --

  19                MR. VLAZAKIS:      They can correct it.

  20                THE COURT:     That's too much detail.           I understand your

  21    point that the amendment to the contract, then PG&E got second

  22    thoughts and didn't like their own plan and they didn't go to

  23    plan C.

  24                MR. VLAZAKIS:      But remember, you --

  25                THE COURT:     They rejected their own plan B.

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   1                MR. VLAZAKIS:      They kept that from us for months.

   2                THE COURT:     Okay.

   3                MR. VLAZAKIS:      They have unclean hands, because they

   4    should have been upfront and said hey, we made a mistake.

   5                THE COURT:     Just tell me --

   6                MR. VLAZAKIS:      They never did that.

   7                THE COURT:     Just tell me why there's still a contract?

   8                MR. VLAZAKIS:      There's still a contract because, under

   9    the majority rule on a motion to reject, the bankruptcy courts'

  10    hands are tied.       You cannot rule on the merits.            And by saying

  11    there's no contract, you're ruling on the merits without a full

  12    evidentiary record.        So that would be an abuse of discretion in

  13    my view.

  14                THE COURT:     You have some authority to say that I

  15    can't make a determination that there's no contract to reject.

  16                MR. VLAZAKIS:      It was stated in our opposition --

  17                THE COURT:     Well, Mr. Berestka, what's your strongest

  18    case --

  19                MR. VLAZAKIS:      Yeah.     You can address that.

  20                THE COURT:     What's your strongest case that you cite

  21    for what Mr. Vlazakis just said that there is no -- that the

  22    Court cannot determine that there isn't a contract any longer?

  23    Why -- what does that -- what's the authority that says I can't

  24    reach that conclusion?

  25                MR. BERESTKA:      Well, both the Johnson Righetti case,

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   1    Your Honor, 756 F.2nd 738, it discusses that the bankruptcy

   2    court where it's making decisions on the context of stay

   3    relief, the bankruptcy court refrains from making merits

   4    decisions including the validity of contract --

   5                THE COURT:     I know, but this is not stay relief today;

   6    it's motion to reject.         And if I deny the motion to reject, you

   7    are going to ask me to grant full relief.               I promise you, you

   8    are.

   9                So anyway, listen I'll try to let you finish your --

  10    whichever one of you wants to be heard and just go ahead and

  11    wrap up.     I'll try not to ask any more questions, and then I'll

  12    let Mr. Benvenutti close.

  13                MR. BERESTKA:      Your Honor, I think the main point that

  14    I was trying to get across here is that we're put in an

  15    untenable position if this contract is rejected and we're back

  16    in state court and how that's going to necessarily unfold.

  17                The contract and their claims are like this, and I

  18    think you said that at the very beginning that they're really

  19    linked together.       It's about the wall.          It's not about contract

  20    claims.    It's not about nuisance tort claims.               Everything has

  21    to do with the wall.        And you can't decide who has rights or

  22    who doesn't have rights to the wall without analyzing the

  23    contract aspect, because that gives my client some rights.

  24    Whether it's -- whether it was the specific performance that

  25    counsel's alluding to or whether there's remedies for breach

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   1    under the contract, there's still rights to the wall that can

   2    defeat some of the state law claims.              That's why they're

   3    pushing this whole thing through.

   4                THE COURT:     Well, that's right, and that's what would

   5    happen if you had an encroachment.

   6                Well, prescriptive easement, right?              If one prevails

   7    on a prescriptive easement, it means your rights prevail over

   8    the guy whose your prescripting, right?

   9                MR. BERESTKA:      Well, that's kind of the whole point

  10    with the contract.

  11                THE COURT:     Right.

  12                MR. BERESTKA:      That's not allowing us to present that

  13    is, basically, cutting the legs out from under the client.

  14                THE COURT:     But that's an implied contract in the law,

  15    in the facts, in the history of sixty years of common law.

  16    It's not in the letter of the contract that was signed in 2017,

  17    right.    The 2017 letter was an attempt, albeit unsuccessful, to

  18    fix the problem.       It didn't create the problem, right?

  19                MR. BERESTKA:      Correct.

  20                THE COURT:     Well, let me try it this way.             I'll put

  21    the question back to you having promised you that I wouldn't

  22    speak anymore.       Are you better off with my granting the motion

  23    to reject for the reasons Mr. Benvenutti argues or my denying

  24    the motion to reject for the reasons that I've stated that I

  25    don't believe there's a contract anymore?

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   1                MR. BERESTKA:      We're prob --

   2                THE COURT:     I mean, I think you're better off with the

   3    second choice not the first one, but you tell me.

   4                MR. BERESTKA:      Yeah.     I would agree.       I don't see

   5    which -- I mean, it's kind of a --

   6                THE COURT:     Well, it's a --

   7                MR. BERESTKA:      -- devil if you do, devil if you don't

   8    on either end.

   9                THE COURT:     It's a way, if I were -- if I'm not

  10    persuaded by Mr. Benvenutti to go the other way to say the best

  11    result here is to let the parties solve their problems in one

  12    form, and not to use a bankruptcy remedy that brings in

  13    litigation tactics and business judgment and fact specific and

  14    says even though if there were a contract, maybe the lake site

  15    could reject it if it were in bankruptcy.               It's not in

  16    bankruptcy.     But more accurately, the course of dealing with

  17    two tries to fix it by contract followed by the commencement of

  18    litigation that says nothing about the contract suggests to me

  19    that there's no contract to reject.

  20                Now, I understand, maybe I'm not supposed to be going

  21    to the merits, but to me it's a threshold question; you can't

  22    reject a contract if the contract doesn't exist.

  23                So I think that I can't be given a choice to do

  24    something and be told I can't do it because I can't go to the

  25    merits.    So that's what I'm struggling with.

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   1                MR. BERESTKA:      But even if we're going off to the

   2    side, Your Honor, with the covenant in good faith and fair

   3    dealing and the negligence claims, those, I don't think, are

   4    necessarily touched by the rejection of the contract.

   5                THE COURT:     Well --

   6                MR. BERESTKA:      The motion survives.

   7                THE COURT:     And if I were to say I'm going to deny the

   8    motion because I'm not persuaded that there is a contract

   9    anymore, and I'm granting full relief from stay, and the state

  10    court can decide what to do about everything.                 And you can,

  11    perhaps, convince the -- try to convince the judge that,

  12    notwithstanding that crazy bankruptcy judge, there really was a

  13    contract, but all I'm saying is I don't believe that I'm

  14    precluded from denying a motion to reject because of the

  15    threshold question that I've posed that there's nothing to

  16    reject.    Anyway, that's the dilemma I'm struggling with.

  17                Okay, Mr. Benvenutti, you have --

  18                MR. VLAZAKIS:      Judge, can I just be heard for, like,

  19    one minute on that one point?

  20                THE COURT:     One minute --

  21                MR. VLAZAKIS:      One minute.

  22                THE COURT:     -- because I don't want you to turn

  23    into --

  24                MR. VLAZAKIS:      Sure.

  25                THE COURT:     -- bad faith and second dealing and second

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   1    choices, and just to the merits.             Go ahead.     On bankruptcy

   2    issues.

   3                MR. VLAZAKIS:      Sure.     First of all, debtors' counsel

   4    has not presented facts of burdensome.               Under the proposed

   5    plan, the unsecured creditors are going to get paid a hundred

   6    percent -- a hundred cents on the dollar.

   7                THE COURT:     That's right.

   8                MR. VLAZAKIS:      They cannot show financial burdensome,

   9    because there's been no evidence presented to them.                   They

  10    didn't even present an estimate of what it would cost.                   That

  11    was their oversight.        So you don't have proof of

  12    burdensomeness.

  13                And also, on the issue, there is the case where, if

  14    the unsecured creditors are going to get paid a hundred cents

  15    on the dollar, then it's not appropriate for rejection of the

  16    contract.

  17                THE COURT:     That's a slippery-slope argument because

  18    that would be an argument that you can never have rejection in

  19    a solvent case, and I'm not going there anyway.

  20                You asked for a minute; you got your minute.

  21                MR. VLAZAKIS:      Okay.     Thank you, Your Honor.

  22                THE COURT:     Mr. Benvenutti, you're the closer.

  23                MR. BENVENUTTI:       Yes, Your Honor.

  24                Well, in the first instance, Your Honor, if the Court

  25    were to deny the motion on the basis there's no contract to

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   1    reject and that had preclusive effect elsewhere, that would be

   2    fine.

   3                THE COURT:     I don't know if it had preclusive effect.

   4                MR. BENVENUTTI:       Well, that's --

   5                THE COURT:     I mean, I can't impose upon another court.

   6                MR. BENVENUTTI:       I understand.

   7                THE COURT:     I mean, I presume if I use that reasoning,

   8    you or your colleagues would figure out a way to tell the judge

   9    that, for what it's worth, that's what I said.

  10                MR. BENVENUTTI:       We would certainly make that effort,

  11    and I'd like to think we'd be successful, but, you know, it's

  12    fraud.

  13                If there is a contract, I think the Court's persuaded

  14    rejection would be appropriate.             If not, I'll address whatever

  15    the Court's concerns are about that.

  16                THE COURT:     Well, I think what Mr. Vlazakis said at

  17    the end is have you made even a prima facie showing of what the

  18    damages might be?

  19                MR. BENVENUTTI:       Your Honor, we have not, but what we

  20    have shown is that there's significant burden associated with

  21    performing the contract, and that it stands in the way.                   It

  22    clearly represents a temporal impediment to the completion of

  23    this project.

  24                THE COURT:     The problem I'm having is I look at a

  25    chart, I look at a diagram, I happen to know that part of

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   1    Oakland, I didn't go inspect the site, but it's hard for me to

   2    imagine that there couldn't be some rearrangement of the piping

   3    to solve the problem with the wall and complete the project.

   4                MR. BENVENUTTI:       Well, Your Honor, let me just say

   5    something.

   6                THE COURT:     But I don't have the ability to make that

   7    determination.

   8                MR. BENVENUTTI:       Let me tell you what is in the

   9    record, and you're right, it's indirect, but what is in the

  10    record from Mr. Garber's declarations is that there were --

  11    that PG&E tried multiple different ways after it concluded it

  12    could not do the wall restructuring that was the original

  13    intention to get a resolution with the Vlazakises.                  And it's

  14    not that nothing happened after that occurred.                 Mr. Garber's

  15    declaration demonstrates there were repeated efforts to try to

  16    come to a resolution of the Vlazakises --

  17                THE COURT:     Right.

  18                MR. BENVENUTTI:       -- and those were unsuccessful.             It

  19    was only then that the -- the action was filed, and it doesn't

  20    just seek declaratory relief.            It also seeks an injunction.

  21                So this gets to the Court's concern about what happens

  22    at the end of the day.         Well, PG&E is seeking an injunction

  23    that would permit the demolition of the wall.                 The Court talked

  24    earlier about trying to get to a resolution and getting into a

  25    mediation and getting a settlement.              Well, the record also

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   1    shows that the Vlazakises have not been prepared to contribute

   2    one penny to the solution of this problem.

   3                THE COURT:     Well, but that --

   4                MR. BENVENUTTI:       But Your Honor, it's important for

   5    this point.     It's important for this point.             The Court asks

   6    what happens if you grant the relief we're seeking.                   Well, I

   7    think what happens is there is going to be a settlement.                      I

   8    think there is going to be a settlement because the Vlazakises

   9    then will be motivated to come to the table and get to a

  10    settlement --

  11                THE COURT:     Well, that's a good result, then; isn't

  12    it?

  13                MR. BENVENUTTI:       -- which they're not right now.

  14    Right.     If you give us the relief we're seeking, that's going

  15    to happen.

  16                THE COURT:     And you don't think --

  17                MR. BENVENUTTI:       What I'm concerned about --

  18                THE COURT:     You don't think there will be a settlement

  19    if I deny relief for the same reason?

  20                MR. BENVENUTTI:       I --

  21                THE COURT:     I mean, jury trials have a way of

  22    motivating people to settle.

  23                MR. BENVENUTTI:       Eventually.      Eventually, but that's

  24    going to be way off in the future, Your Honor, and that's the

  25    problem.     That's the problem we face.

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   1                That's why I said they're trying to thread a needle,

   2    and it's a needle that is complicated.               It's not the

   3    traditional kind of contract rejection situation --

   4                THE COURT:     No, it's not.

   5                MR. BENVENUTTI:       -- but it's one in which PG&E is

   6    confronted with delay, with all respect to the Vlazakises, an

   7    intractable problem that is largely created because they want

   8    to have everything done for them and are not willing to

   9    compromise in order to solve the problem.

  10                If you look at the contract, what the contract said

  11    was, basically, PG&E was going to fix the problem --

  12                THE COURT:     But PG&E agreed to do it.

  13                MR. BENVENUTTI:       Your Honor, they did --

  14                THE COURT:     So what do they --

  15                MR. BENVENUTTI:       It did.     It did.     It did.     And

  16    afterward -- this goes to the point of what could be done

  17    otherwise for PG&E.        Do you think that if PG&E could rejigger

  18    the plans in order to accommodate a fix --

  19                THE COURT:     Yes.

  20                MR. BENVENUTTI:       -- of the second --

  21                THE COURT:     I think they would do it.

  22                MR. BENVENUTTI:       They would do it.        They would have

  23    done it.

  24                THE COURT:     They would do it.

  25                MR. BENVENUTTI:       We would not be here standing before

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   1    you if it were possible, feasible, to do that.                 And while we

   2    don't have direct evidence of that, we certainly have a lot of

   3    indirect evidence.

   4                THE COURT:     But that goes -- okay, I've been going

   5    around in circles.

   6                MR. BENVENUTTI:        Okay.    So anyway, so Your Honor, in

   7    conclusion, if we get a clear decision from you that the reason

   8    the Court is denying the motion to reject and granting relief

   9    from stay is because the Court has determined that there is no

  10    contract, that's certainly better than a poke in the eye with a

  11    sharp stick.

  12                THE COURT:     Poke in the eye.

  13                MR. BENVENUTTI:        But --

  14                THE COURT:     There was a contract, clearly.             The

  15    conclusion that I'm thinking about is what I said, so let's

  16    leave it at that.

  17                MR. BENVENUTTI:        All right.

  18                THE COURT:     The matter stands submitted.

  19                MR. BENVENUTTI:        But I do think it's -- we're in a

  20    clearer position vis-a-vis the things we care about if the

  21    Court adopts PG&E's position, rejects the contract, and denies

  22    relief from stay as to the contract cross-complaint.

  23                THE COURT:     Okay.       Thank you.    On both sides.         The

  24    matter stands submitted.          Thank you.      Appreciate it.

  25                Mr. Karotkin, you've been quiet today.              Are you going

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   1    to represent the company?           I thought you were going to appear

   2    by phone today, but you didn't -- are you going to argue for --

   3    against Mr. Abrams today or someone else from your side?

   4                MR. KAROTKIN:      No, I am.

   5                THE COURT:     Okay.       Well, let's go with that, and I

   6    will let Mr. Abrams go first as I promised.

   7                Are you here, Mr. Abrams?           Come forward, please.         And

   8    I'll stick with my estimate of time.              Again, you've seen me

   9    enough to know I have some questions.              So here's my question.

  10                MR. ABRAMS:      Yes.

  11                THE COURT:     I want to assure you that I regard my job

  12    as to try to come out with the right result.                So I don't want

  13    to waste time this morning about standards of reconsideration

  14    and whether you should or shouldn't have filed a motion at a

  15    different time.

  16                There was a motion originally filed by the senior

  17    bondholders, I believe, to reconsider the RSAs and then for

  18    reasons that you're familiar with that got resolved, and your

  19    motion kind of trailed along.            Your motion got a little

  20    confused because you changed your theory a little bit, but I

  21    want to cut through all that, and I want to avoid your

  22    criticism of the lawyers and your criticism of the profession,

  23    and it's not helpful to have you lecture me or the lawyers on

  24    what their professional duties are.

  25                MR. ABRAMS:      I wouldn't do that, Your Honor.

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   1                THE COURT:     What comes across -- and I'm reading your

   2    papers again, including the response here -- is the major

   3    things that concern you.          Your concern for your children, your

   4    family, your home -- that goes without saying.                 You're

   5    concerned about PG&E stock.            I presume you've seen the

   6    disclosure statement.

   7                MR. ABRAMS:      Yes.

   8                THE COURT:     Have you read it?         Have you read the

   9    recitals in there about who -- where people are going to have

  10    to or not have to take stock?            You're at least aware of that

  11    argument, right?

  12                MR. ABRAMS:      I am aware, but --

  13                THE COURT:     Okay.

  14                MR. ABRAMS:      -- this is supposed to come first.

  15                THE COURT:     Just a minute.

  16                MR. ABRAMS:      Yes.

  17                THE COURT:     Just a minute.        So at least at the moment,

  18    there's nothing in the RSAs that forces PG&E's stock on any

  19    fire survivor.

  20                Secondly, you are aware, as a number of your fellow

  21    survivors are, about the FEMA presence.               You're aware, aren't

  22    you, that there are pending objections to the FEMA claim?

  23                MR. ABRAMS:      I am, Your Honor.

  24                THE COURT:     The Cal. LCS claim (ph.)?

  25                MR. ABRAMS:      I am, Your Honor.

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   1                THE COURT:     Okay.       So those are -- whether they have a

   2    good result or a favorable result or a nonfavorable result,

   3    those are two major issues that in my mind are -- I'd like to

   4    say that I know what the outcome is going to be.                    I don't know

   5    what the outcome's going to be, but they are issues that are

   6    being dealt with by principal players.

   7                MR. ABRAMS:      Yes.

   8                THE COURT:     You're also aware -- I don't have to tell

   9    you because you've said it frequently -- about what's going on

  10    at the Commission and what's going on in the governor's office

  11    in terms of future management of PG&E.

  12                So when I look at -- if I had to do a ranking of what

  13    I think Mr. Abrams' major concerns are, those four, starting

  14    with your family and your well-being and your concern about the

  15    future and the risk of future fires, I don't think anybody

  16    could quarrel with you -- I certainly don't -- about your

  17    priorities there.       But then, when you go to PG&E stock and FEMA

  18    sharing and the pool of money that -- at least you didn't say,

  19    but a lot of your fellow survivors are writing to me and are

  20    saying things about, there just isn't enough money.                    And then

  21    you have said there's issues about governance and future

  22    structures and so on, and those are all legitimate concerns as

  23    I've said before, but I don't know how any of them get helped

  24    rather than hindered by upsetting the TCC RSA.                 So with that

  25    background --

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   1                MR. ABRAMS:      Yes, Your Honor.

   2                THE COURT:     -- I'll give you your time to make your

   3    argument, and as I said in the last case, I'll try to listen

   4    and not debate with you.

   5                MR. ABRAMS:      I appreciate that, Your Honor, and

   6    certainly, I have a lot to consider regarding the RSA.                   And if

   7    I hadn't written the letters prior to this and to the Court and

   8    had not gotten a response from any of the attorneys, I probably

   9    wouldn't have proceeded in the way I did and come to this

  10    courtroom.

  11                With that said, I was glad I did.             I feel privileged

  12    to be standing here before you.             I am very concerned about the

  13    RSA.

  14                The notion that by not talking about it with their

  15    clients that somehow it's a good deal, the notion that hiding

  16    this very short, actually, pithy document --

  17                THE COURT:     What's that?       Say that again.        You're the

  18    one that says its hiding.          It isn't hidden from me.

  19                MR. ABRAMS:      Okay.

  20                THE COURT:     That's a complicated document.

  21                MR. ABRAMS:      Well, I --

  22                THE COURT:     They're all complicated documents.

  23                MR. ABRAMS:      -- I'm here to argue that it's not so

  24    complicated, and I'm here to argue that that document for

  25    claimants is very hard to find.

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   1                So it is -- in order for me to find it, I had to go to

   2    the PG&E website, go to the SEC filings --

   3                THE COURT:     Did you go to the court's website?

   4                MR. ABRAMS:      -- find 8-K.       Sorry?

   5                THE COURT:     Did you go to the court's website and see

   6    the RSA --

   7                MR. ABRAMS:      I went to the TCC website.

   8                THE COURT:     Did you go to our website and see the

   9    document on our docket?

  10                MR. ABRAMS:      Your Honor, I would have to tell you

  11    that, for most folks who are in this case, they are looking for

  12    the usual places --

  13                THE COURT:     I just asked --

  14                MR. ABRAMS:      -- where things would be had.

  15                THE COURT:     I just asked you if you --

  16                MR. ABRAMS:      And it is incumbent --

  17                THE COURT:     Mr. Abrams, I didn't ask what the other

  18    folks did, and I understand there are tens of thousands of

  19    people that can't possibly be expected to understand the very

  20    complexities to this, and you, on the contrary, are very

  21    involved.     I just asked if you saw the RSA on our court's

  22    website because that's where I first found it.

  23                MR. ABRAMS:      That's why I'm here.

  24                THE COURT:     Okay.

  25                MR. ABRAMS:      That's why I'm here, Your Honor.

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   1                THE COURT:     But that's where -- it's there, you know.

   2                MR. ABRAMS:      I understand it's there.          I'm just

   3    telling you that, from what I've been hearing from other folks

   4    who are claimants to this case, and it's incumbent upon the TCC

   5    to provide that to folks.

   6                THE COURT:     Now, look, why do you believe that at this

   7    stage of the game it's incumbent upon a committee, who is

   8    working extensively and with a lot of people and a lot of

   9    effort, that they're supposed to be educating people who aren't

  10    involved as you are on the fine points of something when we

  11    are -- Mr. Abrams, we are weeks away from my being asked to

  12    approve a disclosure statement and supporting documents that

  13    will be designed to explain to them, every one of them if they

  14    are inclined to read it, what should influence their decision.

  15    And as you've been told over and over again, you and all 70,000

  16    fire survivors have the right to vote the plan down if you

  17    choose to.     That's what -- that's the way the system was

  18    designed.

  19                MR. ABRAMS:      I understand, Your Honor --

  20                THE COURT:     But you're complaining about the lack of

  21    detailed information of a highly technical nature in a complex

  22    document that isn't even the document that Congress said goes

  23    out to the voters.        It's like, Mr. Abrams, you and I get to

  24    vote next month, and you probably got your voter's pamphlet

  25    already --

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   1                MR. ABRAMS:      Um-hum.

   2                THE COURT:     -- and if you read your voter's pamphlet,

   3    you will learn what you need to learn, maybe, but maybe you got

   4    a little flyer that says vote for Joe or vote for Sally, but

   5    somebody else who wants to go read the backup and the

   6    candidate's statements and the background can research it as

   7    long as they want.

   8                MR. ABRAMS:      That --

   9                THE COURT:     But we have a system in place, and we are

  10    midway along that system and you're complaining that the

  11    thousands and thousands of people who, perhaps, don't

  12    understand should have been given something that the law

  13    doesn't even contemplate them being given that information.

  14                MR. ABRAMS:      And, Your Honor, following your analogy,

  15    that would be the case.         If prior to my vote there was an

  16    agreement that was signed that candidates couldn't reveal their

  17    platform -- and that's what this RSA entails.

  18                If I go to my attorney, if I read something in the

  19    paper and I go to my attorney and I say hey, I've read about

  20    this, I'm concerned about FEMA, I'm concerned about the stock,

  21    help explain it to me, there are many provisions in this that

  22    they shall do this.

  23                One remedy to this would make this a whole lot better

  24    is change that "shall" to "may."             Give the attorneys the option

  25    to be able to describe the different aspects of this and the

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   1    things that are detrimental and, by all means, the things that

   2    are in favor of the victims.            But that is why the vote that is

   3    relied upon has been compromised, and that's why all this talk

   4    about streamlining the disclosure statement -- I know what

   5    streamlining means particularly when your job is to get this

   6    done, to get the yes votes.

   7                Streamlining means make sure it's all one sided.                  Make

   8    sure that it provides clear --

   9                THE COURT:     Why do --

  10                MR. ABRAMS:      -- concise information --

  11                THE COURT:     Why do you say that?

  12                MR. ABRAMS:      -- that you should vote yes.

  13                THE COURT:     Wait a minute.        Why do you say that?         Why

  14    do you -- what do you think I'm going to draft it?

  15                MR. ABRAMS:      No, Your Honor.

  16                THE COURT:     I mean, what makes you think that there's

  17    any truth to what you just said?

  18                MR. ABRAMS:      Because if past is prologue, that's what

  19    will occur.

  20                THE COURT:     What past are you referring to?

  21                MR. ABRAMS:      I'm responding to the RSA, Your Honor.

  22    I'm responding to what is in the RSA.              And look, part of this

  23    notion that it's too difficult for folks to understand, folks

  24    understand what stock is.          This isn't -- if Joe --

  25                THE COURT:     And I just asked you if you read in the

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   1    newest document in bold print, you don't have to get PG&E

   2    stock.     You think that's phony?          You think that's a false

   3    statement?

   4                MR. ABRAMS:      No, Your Honor.       I don't think it's a

   5    false --

   6                THE COURT:     But then, what am I supposed to do?                Am I

   7    supposed to say, well, Mr. Karotkin's playing games here;

   8    everybody's going to have to get stock?               I mean, that's not the

   9    way the system works.

  10                So but your standing there acting as though that

  11    70,000 people have been told in undecipherable terms you're

  12    going to have to get stock.            No one has said that.        No one.

  13                MR. ABRAMS:      Your Honor --

  14                THE COURT:     Not even -- no one has said that.

  15                MR. ABRAMS:      Your Honor, my understanding when this

  16    RSA was approved was that part of what transpired in that

  17    courtroom -- and that's the reason why I even proceeded -- in

  18    the courtroom it was said that the victims have told their

  19    attorneys they want this agreement, and I sat in that courtroom

  20    and I said, huh, that doesn't -- that is in no way comports

  21    with the facts that I knew, but I didn't stop there, Your

  22    Honor.

  23                THE COURT:     But Mr. Abrams, you've done a SurveyMonkey

  24    of a couple of hundred people.            You haven't interviewed, nor do

  25    I expect you to, 70,000 people.             I am not in a position, and I

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   1    don't know how you could be, to question when a number of

   2    experienced counsel stood at the podium and told me that they

   3    have advised and discussed and counseled with their groups of

   4    people and we start with a committee that is representative of

   5    all the victims represented by very experienced counsel.                      You

   6    want me just to sort of disregard all of that?

   7                MR. ABRAMS:      Unfortunately, Your Honor, what has

   8    happened is they've substituted their experience, which I

   9    absolutely understand is the case, for getting the best

  10    interest in consulting with clients around what is in their

  11    best interest --

  12                THE COURT:     Would you like -- would you like --

  13                MR. ABRAMS:      -- and the assumption --

  14                THE COURT:     Would you like the victims to not have the

  15    benefit of expertise in a very --

  16                MR. ABRAMS:      Absolutely, they --

  17                THE COURT:     -- very, very difficult complex world

  18    called the bankruptcy world?

  19                MR. ABRAMS:      It was not provided.         And so I'm not

  20    relying -- so again, let me just point out to the Court what

  21    those things are that I am relying upon, because I am not

  22    relying on one of these pieces of evidence.                What I am relying

  23    on is, again, sent letters, so did a lot of other claimants.

  24    No response.

  25                If the claimants who reached out to this Court to file

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   1    something on the docket and went to that measure to state their

   2    objections, you think they'd get a phone call?

   3                THE COURT:     Well, I don't know --

   4                MR. ABRAMS:      Do you think they'd get an email?

   5                THE COURT:     I can't -- I can't -- but --

   6                MR. ABRAMS:      If you're relying on that --

   7                THE COURT:     Mr. Abrams --

   8                MR. ABRAMS:      -- then it didn't occur.

   9                THE COURT:     Mr. Abrams, I -- Mr. Abrams, I cannot from

  10    here legislate for Ms. Dumas and Mr. Julian and all of the

  11    state court experienced fire lawyers.              I cannot get into their

  12    attorney-client relationships and start to tell them --

  13                MR. ABRAMS:      Absolutely.

  14                THE COURT:     -- how they do.        But what I can do is

  15    ensure that there will be a voter's pamphlet in my way of -- in

  16    my desire to make it easy -- you might like it to be more

  17    complicated; I would prefer that it were easy -- and they make

  18    an informed decision.         And you know what, if they vote the plan

  19    down, then there are -- we have to figure out what to do next.

  20                But let's go back to today.           Why -- and I asked you

  21    this last time when you were challenging the senior

  22    bondholders' RSA:       What would happen in your mind if I accepted

  23    your argument today and sent the TCC and the debtors back to

  24    the drawing board and said we're tearing up the RSA with the

  25    TCC?     Forget the subrogation for the moment.

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   1                MR. ABRAMS:      Yes.

   2                THE COURT:     What would happen?         Why is that a

   3    constructive thing on February 11th --

   4                MR. ABRAMS:      Yes.

   5                THE COURT:     -- of 2020?

   6                MR. ABRAMS:      Yes.

   7                THE COURT:     Tell me how.

   8                MR. ABRAMS:      So what that would entail is the

   9    attorneys going back to the table, changing the "shalls" to

  10    "may."

  11                THE COURT:     But wait a minute.         There's no -- there's

  12    no "shall" or "may" because you want me to tear up the

  13    agreement.     And you remember --

  14                MR. ABRAMS:      So if tearing up the --

  15                THE COURT:     Mr. Abrams, do you remember where things

  16    were when I granted relief from stay for the Tubbs Fire to go

  17    forward --

  18                MR. ABRAMS:      Yes.

  19                THE COURT:     -- and Judge Donato started and when --

  20    and before I ordered a mediator?             Where were things then?

  21                MR. ABRAMS:      Your Honor --

  22                THE COURT:     And three things happened.           I ordered the

  23    mediator.     I don't take any credit for doing anything, but I

  24    ordered the mediator, and in due course the Tubbs Fire matter

  25    got resolved -- maybe not to everyone's satisfaction, but it

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   1    got resolved -- the district court litigation went away, and

   2    the TCC and the debtors entered into an agreement that their

   3    collective views are proactive towards a result.                    That's a good

   4    result.

   5                MR. ABRAMS:      In my opinion, Your Honor --

   6                THE COURT:     That's a good result.

   7                MR. ABRAMS:      In my opinion, Your Honor, the reason why

   8    the bondholders have abandoned their plan is because they have

   9    hedged against this plan.

  10                What happened to all their objections with this plan?

  11    They were -- wanted this reconsidered.               They thought this was

  12    the worst thing for claimants, for the State of California.

  13                THE COURT:     But that's what --

  14                MR. ABRAMS:      They came here to the court and presented

  15    that.

  16                THE COURT:     But that --

  17                MR. ABRAMS:      And now all that goes away because

  18    they --

  19                THE COURT:     But Mr. --

  20                MR. ABRAMS:      -- hedged their investments.

  21                THE COURT:     Mr. Abrams, that's what --

  22                MR. ABRAMS:      Where does that leave the claimants and

  23    their investments?

  24                THE COURT:     That's what settlements are all about.

  25    That's the nature of settlements.

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   1                MR. ABRAMS:      Well --

   2                THE COURT:     They compromise things.

   3                MR. ABRAMS:      Yeah, it's compromised, but it's at the

   4    detriment of victims.

   5                THE COURT:     Why?

   6                MR. ABRAMS:      And having all those folks represented

   7    here, look --

   8                THE COURT:     Tell me why -- why the group of people

   9    that you speak for -- I understand you're not a lawyer and

  10    you're not -- you're really only speaking for yourself, but I

  11    also --

  12                MR. ABRAMS:      Correct.

  13                THE COURT:     -- I also believe you're here because you

  14    believe strongly on behalf of a lot of people other than

  15    yourself and your family.          And why is it better rather than not

  16    so good to tear up the TCC RSA today and say start over

  17    everybody?

  18                MR. ABRAMS:      Because I believe that what that will

  19    allow is to allow sunlight on this agreement which to this

  20    point there has not been, and I -- the RSA is written to make

  21    sure that there isn't sunlight going forward.

  22                THE COURT:     What would be a different outcome?

  23                MR. ABRAMS:      The different out --

  24                THE COURT:     Sunlight is important.

  25                MR. ABRAMS:      Yeah.

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   1                THE COURT:     We know about sunlight, but we're dealing

   2    with the desire to fix a problem and get some money into the

   3    hands of the survivors.

   4                MR. ABRAMS:      Yes, Your Honor.

   5                THE COURT:     I have been motivated to do it and you

   6    have.

   7                MR. ABRAMS:      Yes.

   8                THE COURT:     So if I believe that going forward is a

   9    good thing, you don't.         So why -- what will move the cause

  10    favorably so that you and your family and the 70,000 other

  11    survivors will get a check and not a sheriff's certificate

  12    unless you want one -- a check sooner rather than later?

  13                MR. ABRAMS:      I believe, Your Honor, and which is why

  14    I'm here, is that sunlight on the process and sunlight on the

  15    information provides a better outcome.               I believe that the

  16    lawyers being able -- who are professionals -- I believe that

  17    them being able to freely voice what their pros and cons are of

  18    this is a benefit to everyone.            I think it's a benefit to

  19    claimants.     I think it's a benefit to the regulators who have

  20    to judge whether this is in the best interest of California.                  I

  21    think it's in the best interest of all those folks.

  22                The fact that the governor was pushed out of being

  23    able to sign off on this RSA, and the fact that the bondholders

  24    were bought off --

  25                THE COURT:     You --

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   1                MR. ABRAMS:      -- does not make this a better plan.

   2                THE COURT:     Okay.       I'm going to let you reserve a few

   3    minutes and I'll let the other side be heard now.                   Okay?     I'll

   4    come back to you.

   5                MR. ABRAMS:      Thank you.

   6                THE COURT:     And Mr. Karotkin, I'm going to hear from

   7    you and from the TCC.         I don't know that it's necessary to hear

   8    from counsel for the subrogation group, but as I said, I'll let

   9    counsel be heard if that's important.

  10                Mr. Abrams is really not focused on that too much, so

  11    I don't know that we need to, but you go on what you want to

  12    talk about first.

  13                MR. KAROTKIN:      I'll be very brief, Your Honor.              I

  14    think we've addressed the issues in our responsive pleadings.

  15                I think, as you yourself have recognized, that the

  16    RSA, as approved by the Court, was the product of good-faith,

  17    protracted negotiations among the debtors, the TCC as

  18    fiduciaries for all fire victims, and the attorneys

  19    representing the lion's share of the seventy-plus-thousand

  20    people fire victims that filed claims in these cases, I don't

  21    believe Mr. Abrams has presented any evidence to support he

  22    extraordinary relief that he's requesting.

  23                THE COURT:     Well, but I'm trying to get off of the

  24    technical Rule 59 and 60 stuff and talk about the right thing.

  25    So --

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   1                MR. KAROTKIN:      There's --

   2                THE COURT:     -- why is it the right thing versus his

   3    choice of going back and starting over the TCC?

   4                MR. KAROTKIN:      I think that it's exactly what you

   5    said.    This is the product of negotiation among fiduciaries.

   6    It is key to moving these cases forward and getting a

   7    distribution to fire claimants within the timeline of AB 1054.

   8                You cannot knock the props out of this agreement and

   9    everything is going to be fine.             We'll be back where we

  10    started.     It is fundamental to all of the settlements.                It's

  11    not just an individual settlement.

  12                The entire props out of the consensual global

  13    arrangement will fall apart and we will be back, as I said the

  14    other day, in a litigation morass.

  15                THE COURT:     But he wants, at least, the lawyers that

  16    he's in touch with to be able to express their individual views

  17    about why they -- without naming the lawyer, that hypothetical

  18    lawyer who Mr. Abrams might talk to, can say, you know, I think

  19    it's a good reason -- a good deal for these reasons but not a

  20    good deal for these reasons.

  21                MR. KAROTKIN:      The lawyers have made a decision --

  22                THE COURT:     And in effect, there's a gag -- he says

  23    there's a gag on them.

  24                MR. KAROTKIN:      Well, these lawyers didn't have to sign

  25    this agreement.       They made a decision, and they've decided this

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   1    is a good deal, all right.             It's not inconsistent with any

   2    other RSA.     And if Mr. Abrams has views as to why this plan

   3    shouldn't be confirmed or what he thinks ought to be included

   4    in the disclosure statement, he's free to come to this Court

   5    and make those objections.

   6                THE COURT:     And you agree with me, I think you agree

   7    with me, that once I approve the disclosure statement, he's

   8    free to argue and lobby for people that he thinks and persuade

   9    them to vote against it.

  10                MR. KAROTKIN:      I think the law is very clear on that,

  11    Your Honor.     I agree with you.

  12                THE COURT:     Right.       So he can -- if he wishes to, he

  13    can -- however he wishes to communicate, he can say this is why

  14    it's not a good deal, a, b, c, d, and whatever he wants to say.

  15                MR. KAROTKIN:      Correct.       Once there is an approved

  16    disclosure statement.         I agree with that.

  17                THE COURT:     Okay.

  18                MR. KAROTKIN:      Thank you.

  19                THE COURT:     Ms. Dumas, you're in the front chair.               Are

  20    you going to --

  21                MR. SKIKOS:      Your Honor, may I have thirty seconds?

  22                THE COURT:     For who?

  23                UNIDENTIFIED SPEAKER:          You first.

  24                THE COURT:     Well, I don't care who's on -- who wants

  25    to be heard next?       I just was looking over to the TCC because

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   1    they are the -- state your appearance for the record.

   2                MR. SKIKOS:      Steve Skikos.

   3                THE COURT:     Oh, Mr. Skikos, sure.

   4                MR. SKIKOS:      How are you today?

   5                THE COURT:     Good to see you.        I'm sorry, I didn't

   6    recognize you from the back there.

   7                MR. SKIKOS:      I hide now.

   8                THE COURT:     No, you're welcome here.           Go right at the

   9    podium.

  10                MR. SKIKOS:      First, I'd like to thank Mr. Abrams and

  11    the fire victims for presenting and being vigilant and asking

  12    questions and demanding answers.

  13                THE COURT:     So do I and I don't -- if I sound critical

  14    of him, I don't mean to be.            I appreciate his involvement.

  15                MR. SKIKOS:      And our job as the lawyers and the TCC

  16    and Ms. Dumas' team is to inform and empower the fire victims

  17    to make a meaningful decision.            And in this case, there's been

  18    four major instances of connection between the fire victims and

  19    the bankruptcy court:         the participation, the estimation, the

  20    voting, and the allocation.            And there's a reason I'm raising

  21    these.    Because the first two show how the Court can coordinate

  22    with the lawyers and the bankruptcy parties and the debtor to

  23    successfully achieve a result.            And here, if you look at what

  24    happened with participation, there were dismal reports of what

  25    was going to happen.        Forty percent participation was the

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   1    amount that Mr. Orsini announced forty to fifty on the day of

   2    the bar date.

   3                THE COURT:     It's about -- when you say "participate,"

   4    you mean?

   5                MR. SKIKOS:      Proof of claims.

   6                THE COURT:     Proof of claims?

   7                MR. SKIKOS:      Yeah.

   8                THE COURT:     Okay.

   9                MR. SKIKOS:      Number of people who have legitimate

  10    claims --

  11                THE COURT:     Right.

  12                MR. SKIKOS:      -- what was the percent?

  13                THE COURT:     I didn't understand that was the number,

  14    the voter -- the driver.          Okay.

  15                MR. SKIKOS:      He actually announced that on October

  16    21st, and on September 24th, Mr. Bennett also talked about it.

  17    What happened?

  18                The TCC, along with the fire victims in two months

  19    went from 30,000 people to 80,000 people now in December 31st,

  20    and how did that happen?          Because the TCC worked to inform and

  21    empower using their independent judgment, the fire victim

  22    community, and it wasn't us.            It wasn't the bankruptcy court,

  23    although you did extend the bar date, thank you, and it wasn't

  24    Mr. Kasolas, although he did a fantastic job in collaboration

  25    with the debtor and Compass Lexecon and Baker.                 It was the fire

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   1    victim community that went out and mobilized, and they said we

   2    refuse to let our brothers and sisters not be a part of this

   3    bankruptcy.     And remember, there were thousands of fire victims

   4    who were not going to file proofs of claims --

   5                THE COURT:     I'm aware of that.

   6                MR. SKIKOS:      -- because they thought PG&E was in

   7    financial ruin, and they didn't want to take money away from

   8    people who had it worse.          Those are the people who are going to

   9    ultimately be making the voting decision on this company, and

  10    thank God.

  11                Here, with respect to the estimation, the court had a

  12    choice, and it opened discovery in Tubbs in state court.                      It

  13    did the right thing.        It had a jury trial where people

  14    decided -- did the right thing.             It allowed fire victims to be

  15    the actual plaintiffs in front of a jury; it did the right

  16    thing.    And as a result, there were fifty depositions, four

  17    million pages, and the estimation itself involves live people.

  18    Judge Donato ruled that.          What happened?       The case resolved.

  19    It's a step.     And the step that we've reached with resolution

  20    was that the government, the bondholders, the insurance

  21    companies, the shareholders, and the debtor were locked in

  22    13,5-.

  23                THE COURT:     Well, I mean, in between that sequence was

  24    when you got the RSA, right?

  25                MR. SKIKOS:      Correct.

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   1                THE COURT:     In other words, there was no RSA before

   2    those preliminary stages, but the RSA is what -- is now is a

   3    culmination.

   4                MR. SKIKOS:      It's a step.

   5                THE COURT:     It's a major step.         Right.    Yeah.

   6                MR. SKIKOS:      And now here's where we are now.

   7                You raised six different issues that we have to work

   8    on, and we are working on them.             And the point that Mr. Abrams

   9    made, that I agree with, is that the power to approve a

  10    settlement offer must at all times rest with the claimants

  11    collectively and under no circumstances be assigned to the

  12    claimants' counsel.

  13                In other words, we, the lawyers, have to provide

  14    independent advice to the fire victim community in order for

  15    them to make an informed decision.             What happened?

  16                When we -- we are now in era of this case where we're

  17    collaborating.       We're not fighting.         We're trying to do the

  18    best thing.     We're trying to build a better governance system

  19    actively.     We're trying to deal with the stock issue actively.

  20    We're trying to deal with the government liens actively.

  21                The debtor and us agree to three major things in

  22    the -- we call it the "Notice of Procedures for Soliciting

  23    Votes of Holders of Fire Victims Claims."               This is the voting

  24    document.     And the three things that address Mr. Abrams'

  25    concern, which is also our concern, is, number one, "Each

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   1    voting decision rests exclusively with the fire victim client";

   2                Number two, "The methods proposed are intended to

   3    expedite and streamline the transmission of information to fire

   4    victim clients, increase voter participation, and better ensure

   5    such victims are empowered to make informed and meaningful

   6    decisions as to whether to accept or reject the plan";

   7                Number 3, "Each law firm is required to comply with

   8    applicable rules regarding aggregate settlements and informed

   9    consent so that the fire victims' clients can individually vote

  10    to accept or reject the plan."

  11                THE COURT:     I just need to ask you, what are you

  12    looking at?

  13                MR. SKIKOS:      This is the agreement that we put

  14    together with Weil Gotshal on the -- how to vote.

  15                THE COURT:     But it's not in the RSA?

  16                MR. SKIKOS:      No.

  17                THE COURT:     Okay.

  18                MR. SKIKOS:      It's new.

  19                THE COURT:     Okay, but that to some extent I'm glad to

  20    hear that, but until I heard you read it, or Mr. Abrams heard

  21    you read it, we weren't aware of it.

  22                MR. SKIKOS:      Right.

  23                THE COURT:     Okay.

  24                MR. SKIKOS:      Right.     That's a true statement.

  25                THE COURT:     Okay.

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   1                MR. SKIKOS:      And the point of the three points that I

   2    just made is that lawyers must exercise their independent

   3    judgment in advising the clients whether to accept or reject

   4    the plan.

   5                I don't think the Court or the bankruptcy lawyers have

   6    to worry about this group of lawyers exercising their

   7    independent judgment.         This group of lawyers is very difficult

   8    to control, and I --

   9                THE COURT:     Piece of cake.

  10                MR. SKIKOS:      -- I feel bad for Ms. Dumas almost every

  11    day, but we did the work on Tubbs, we did the work on the bar

  12    date, we got to where we are on participation because we worked

  13    closely with the fire victims.

  14                Ultimately, the decision on voting yes or no are in

  15    the hands of the fire victims, and Mr. -- there was a

  16    declaration that we put together from Mr. Barton in support of

  17    the bar date motion.        And I think he touches on the feelings of

  18    the community and why we have to work hard to build our

  19    credibility with the community and earn their trust.

  20                He said, look, after San Bruno, PG&E did ads and made

  21    apology ads; and when they did the apology ads, it meant

  22    nothing, they got bonuses, and then three years later

  23    everything's burned down again.

  24                And so platitudes aren't going to work.                 What we have

  25    to do is provide facts and evidence of why this plan's going to

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   1    work.    What we have to do is get rid of the decades of blind

   2    greed that has compromised this company in short-term profits,

   3    and we're going to have to provide people facts.

   4                The lawyers in this case, the TCC, Ms. Dumas' team,

   5    our team, we're committed to that.

   6                I understand Mr. Abrams' concern.             I share it.     But

   7    we're -- but he doesn't have to worry about the lawyers.                      What

   8    he has to worry about is working with us to build the best plan

   9    possible.

  10                THE COURT:     Okay.       Thanks, Mr. Skikos.      Appreciate

  11    your comments.

  12                Ms. Dumas, are you going to speak or --

  13                MS. DUMAS:     Mr. Marshack is -- I'm happy to have him

  14    proceed.

  15                MR. MARSHACK:      Your Honor, I was going to say just

  16    about everything that Mr. Skikos said.               I'm actually going to

  17    say --

  18                THE COURT:     Well, he beat you to it.

  19                MR. MARSHACK:      I think Mr. Skikos would make a fine

  20    bankruptcy lawyer.

  21                THE COURT:     You ask him if he wants to come around for

  22    some of the other ones.

  23                MR. MARSHACK:      Your Honor, the suggestion that Mr.

  24    Abrams makes is that the fire victims' lawyers are really not

  25    giving it their all.        They're not doing the best job for their

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   1    clients.

   2                I'm a bankruptcy lawyer.          I don't travel in the

   3    personal injury world, but I have been vested in this world for

   4    nine months now.       The lawyers I've met in this case are so

   5    passionate about their cause.            They're so -- they're not giving

   6    Mr. Karotkin an inch.         He has to fight for everything.            I don't

   7    think he can put a comma into the disclosure statement without

   8    their being an objection.          These lawyers are really, really

   9    passionate about what they're doing for their clients.                   They're

  10    very passionate about the fire victims.

  11                I've been in meetings with eighteen, twenty of these

  12    lawyers, and they are fighting for every penny.                 They have

  13    their financial advisors, they're listening to them, and

  14    there's absolutely no way that Mr. Abrams can come before this

  15    Court and suggest for a second they're doing anything less than

  16    the most thorough job possible.             I just want the Court to know

  17    that.

  18                THE COURT:     Thank you, Mr. Marshack.

  19                Ms. Dumas?

  20                MS. DUMAS:     Thank you, Your Honor.          Cecily Dumas on

  21    behalf of the official committee of tort claimants.

  22                THE COURT:     You got a lot of props there in the last

  23    few minutes.

  24                MS. DUMAS:     I appreciated that.

  25                THE COURT:     You're on a roll here.

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   1                MS. DUMAS:      It is, in fact -- as Mr. Marshack who

   2    represents Mr. Singleton and Mr. Skikos, it is, in fact, a

   3    group effort.        The Court may be aware that -- will recall that

   4    not only the TCC is a party to the restructure and support

   5    agreement with the debtors, we are also thirteen law firms --

   6                THE COURT:      No, I'm very much aware of that.

   7                MS. DUMAS:      -- who collectively represent over seventy

   8    percent of the claimants.           We don't agree with any assertion

   9    that the RSA handcuffs those professionals from sharing their

  10    sincere and honest views of the plan.

  11                THE COURT:      So Mr. Skikos or anyone else that could

  12    talk to an individual client and say this is why you might want

  13    to vote against it, right?

  14                MS. DUMAS:      I mean, I have met all of them, as Mr.

  15    Marshack said.       I have worked with them closely for the last

  16    nine months.     I concur with his observation that they are

  17    sincere, passionate advocates on behalf of all fire victims,

  18    and I'm going to assume -- I think I can safely assume -- that

  19    they will meet their ethical obligations to their own clients

  20    with respect to how they communicate with them on the plan and

  21    the circumstances under which the RSA was felt by those firms

  22    to be in the best interest of their clients.

  23                The TCC similarly voted to and believes that the RSA

  24    was the best step at the time in the direction of the path

  25    before us, and many people have observed the progress that was

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   1    made as a consequence of that RSA, as well as the subro RSA,

   2    and subsequently the bondholder RSA.

   3                And Mr. Karotkin is correct.           We would be in a very

   4    difficult and different position timing-wise and with progress

   5    of the case if that RSA were to be set aside.

   6                THE COURT:     A whole lot of things would come

   7    unraveled; wouldn't they?

   8                MS. DUMAS:     I believe that the core of the progress in

   9    the case would come unraveled.

  10                We -- the TCC both believes that the settlement is in

  11    adequate amount and the form of consideration is the best we

  12    could accomplish under the circumstances.               I believed that

  13    then; I believe that today.

  14                We are aware of concerns about government claims.                 We

  15    are aware of concerns about victims being forced to receive

  16    stock.    I have no idea, Your Honor, how that keeps popping up,

  17    but --

  18                THE COURT:     It keeps popping up.

  19                MS. DUMAS:     -- it keeps popping up and --

  20                THE COURT:     I got letters.        You got letters.

  21                MS. DUMAS:     Yes, sir.      And on the point of

  22    communication, just a couple of observations.

  23                So thank you, Your Honor.           You are, in fact -- for

  24    those of you who aren't aware, the Court is sending letters

  25    received by the Court to the principal lawyers in the case,

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   1    including my firm, on behalf of the TCC.               We are taking every

   2    one of those letters seriously.             We have a team that's reading

   3    them and developing new responses to frequently asked questions

   4    that will be put on the TCC's official website.                 That is in

   5    process and it will continue to be in process in addition to

   6    the correct observation the Court made and Mr. Karotkin made

   7    and Mr. Skikos made about the disclosure statement being in

   8    bankruptcy.     The official communication on which every claimant

   9    will be provided adequate information to make an informed vote.

  10                It is also correct that Mr. Abrams or any other victim

  11    or any other lawyer who represents victims will be able to make

  12    comments on, object to, the content of the disclosure statement

  13    to make sure they believe it contains adequate information.

  14                For myself personally, it is extremely important to me

  15    to have credibility not only with the Court, but with fire

  16    victims.     And I have communicated with Mr. Abrams one-on-one

  17    including about twenty minutes on Saturday.                I have attempted

  18    to explain how things work in bankruptcy to him.                    I appreciate

  19    his involvement.       I think it's very important for the Court to

  20    have an outsider, if you will, a voice of victims coming to the

  21    Court directly and expressing concerns.               And I will continue to

  22    do that as long as Mr. Abrams is willing to communicate with

  23    me, and any suggestions he makes with respect to better

  24    communication, the TCC will certainly take that into account.

  25                We believe the motion for reconsideration of the TCC

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   1    RSA, however, should be overruled.             Not only do we believe

   2    there's not a technical basis under the Bankruptcy Code, but we

   3    believe substantively doing so would have an extremely

   4    deleterious effect on the progress in the case.

   5                THE COURT:     Okay.       Thank you, Ms. Dumas.

   6                Mr. Abrams, would you like to make some closing

   7    comments?     And you've got a lot of props today too.                So that's

   8    a good thing, right?

   9                MR. ABRAMS:      Yes, Your Honor.        And thank you, and I

  10    want to make a point clear.            I do not question that the

  11    attorneys are doing their level best in this case.                  However, my

  12    concern is that it's a myopic view, and that they are so

  13    focused on negotiating over, as was stated before, commas that

  14    they aren't taking the time that is needed to consult with

  15    their clients and make sure that what they're advocating for is

  16    in the best interest of claimants.

  17                And it's because process has been put over the product

  18    that I'm here today, and I have these concerns.

  19                The eventual vote that everyone seems to be so relied

  20    upon is going to be compromised by this RSA.                I'm a pretty good

  21    reader, Your Honor, even though I'm not an attorney, and when I

  22    see a provision like 2(g) in the RSA that says "Fire claimant

  23    professionals shall support and recommend and urge a vote to

  24    accept the amended plan," seems to me like that's a shall.                    It

  25    doesn't give them the discretion to say, you know what, for you

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   1    it might not be best.         There's other provisions in here.

   2                2(k) "The TCC shall distribute to holders or fire

   3    victims materials that are approved by the debtor."                   That isn't

   4    discretion.     I'm not making this stuff up, Your Honor.                I've

   5    read it.

   6                Look, obviously, there's a lot to understand regarding

   7    the RSA and the implications of the RSA.               I'm not here to tell

   8    you that I'm an expert on these things.               But I do know that,

   9    when you talk to experts, sometimes because they're expert on

  10    one thing, they seem to think that they have an understanding

  11    and they're an expertise (sic) on a broad array of things like

  12    knowing what's in the best interest of victims.

  13                I did not get a return phone call until after I filed

  14    this fourth motion for reconsideration.               Only at that point,

  15    did I get a -- I'm sorry, Your Honor.              I'm raising my voice

  16    because I'm passionate.

  17                THE COURT:     You're allowed to be passionate.

  18                MR. ABRAMS:      Only after all of those things, after

  19    countless letters -- not countless; I can count -- three

  20    letters.     After three letters into the court, after filing of

  21    motions, the survey, did someone reach out to me to say, Will,

  22    I see this survey of this 240 folks, who are the -- who are the

  23    groups that you reached out to?             Was there a phone call to me

  24    to say, look, I want to correct the record, just let me know

  25    who they are, I'd be happy to communicate that?

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   1                THE COURT:     Lower your voice.

   2                MR. ABRAMS:      Sure.     No, was the answer.          They did not

   3    reach out to me at all for any of those reasons.                    Only after I

   4    filed this motion did I -- I initiate a phone call and finally

   5    got a return phone call, and if I have to go through all of

   6    those steps to get a phone call from an attorney -- I don't

   7    represent all the victims, but I am representative of what this

   8    is, which is I had to go through all of those hoops to get a

   9    phone call back, and if I had to do all of that, imagine who --

  10    someone who isn't so involved in this, who isn't sitting in

  11    this courtroom.

  12                THE COURT:     But Mr. Abrams, I think where we might

  13    differ is this point, and I have a lot of experience in the

  14    bankruptcy world and you have little or none.

  15                MR. ABRAMS:      None.

  16                THE COURT:     But that doesn't mean -- but you have much

  17    more experience than I with the tragedies that you've been

  18    through.     But I look at Ms. Dumas and Mr. Julian and a number

  19    of the lawyers from their firm who I didn't know before, and

  20    these are very, very highly experience people in a very, very

  21    highly technical area.

  22                MR. ABRAMS:      Absolutely.

  23                THE COURT:     And they have made -- aligned with some of

  24    the best of the personal injury fire-type lawyers in the state,

  25    if not the country --

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   1                MR. ABRAMS:      Absolutely.

   2                THE COURT:     -- and I have to believe them.             They're

   3    not -- if they're pulling a fast one on me, they're succeeding,

   4    because they're telling me the kind of things that Mr. Skikos

   5    just said and Mr. Marshack just said about their dedication to

   6    the well-being of all the fire victims.

   7                And so I appreciate that you want to have more

   8    information and want your calls returned, but --

   9                MR. ABRAMS:      It's not about me, Your Honor.

  10                THE COURT:     I understand --

  11                MR. ABRAMS:      I'm not -- it's not my calls.

  12                THE COURT:     I understand it's not about you, but I

  13    also understand that the 70,000 fire claimants were flooded

  14    with the kind of information, it would be worse rather than

  15    better.

  16                What do you think is going to happen when 70,000

  17    disclosure statements go out?            It's going to be confusing.          And

  18    it's --

  19                MR. ABRAMS:      Not if they get the RSA --

  20                THE COURT:     No.    No.

  21                MR. ABRAMS:      -- which is seven pages long.

  22                THE COURT:     Mr. Abrams, I think you're putting too

  23    much faith in an RSA.

  24                RSA, first of all, I wonder -- and I'm not going to do

  25    a quiz here -- but I would bet most people in Northern

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   1    California don't even know what an RSA stands for.                  I know you

   2    do and I do.     They are tools in the toolbox of the bankruptcy

   3    world, and outside of bankruptcy there's no such thing as an

   4    RSA.     And so think about the number of dollars and people and

   5    complexities, not just for the fire problems, but the other

   6    problems:     the bonds and the layers and layers and layers of

   7    the financing structure of this company.

   8                MR. ABRAMS:      Yes.

   9                THE COURT:     And then add to that all the governmental

  10    agencies and their positions, and then add to that whatever the

  11    body count of insurance companies is -- it's over a hundred --

  12    and the sophistication.         And we have one of the most complex

  13    corporate reorganizations in U.S. history, and one of the

  14    things to implement them, one of the tools in the toolbox is

  15    this thing called an RSA that exists in the bankruptcy world

  16    and nowhere else, probably.            And you're focusing on it and

  17    assuming that 70,000 of your fellow survivors would want to

  18    even attempt to understand that because you are very thorough

  19    and very -- you're reading it carefully and thoroughly and

  20    asking questions, but I suspect that large numbers of them

  21    don't want to do that because they want to trust the people

  22    that they trust.       That's not to say that you're not

  23    trustworthy.     They want people like Cecily Dumas and Bob

  24    Julian --

  25                MR. ABRAMS:      Absolutely.

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   1                THE COURT:     -- who they've never heard of before until

   2    the bankruptcy, and Frank Pitre and Mr. Skikos, and the others

   3    who are -- they never wanted to meet them either.                   But all of

   4    those people together, coalescing around this entity called the

   5    TCC, and you want me to question the way they're all coming

   6    together because of your own concerns.

   7                And so I want to say I can't undo all that, but as Mr.

   8    Skikos said, I respect your views, but I can't let you make

   9    your desires jeopardize what is a very, very complex process.

  10    That's all.

  11                MR. ABRAMS:      It --

  12                THE COURT:       I'm not trying to negotiate with you; I'm

  13    trying to explain, from my point of view, and what I see from

  14    the bankruptcy professional's point of view, and if I don't get

  15    you to agree with anything, that's okay too; I just want to try

  16    to let you understand that I'm responding to your criticisms

  17    and complaints, but I can't solve them.               And I don't think your

  18    solution is a solution.         I think --

  19                MR. ABRAMS:      Okay.     I think, Your Honor --

  20                THE COURT:     And you don't really want me to throw the

  21    whole thing out, do you?          I mean, do you really want me,

  22    seriously, to say, folks, we're going to go back to where we

  23    were last fall, Tubbs fire victims, back up, Judge Donato, back

  24    up in place, undo all of this stuff, and call up the governor's

  25    office and say we're still going to try to get this done by

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   1    June 30th?

   2                MR. ABRAMS:      Your Honor, I think it would take them

   3    about an hour to go in a room and cross out the "shall"s and

   4    put in "may" so that all of them can be able to speak freely.

   5    To have all of these people arguing against transparency,

   6    arguing against having the information out there -- and you're

   7    right; there are a whole host of claimants who will just say,

   8    look, I'm moving on, I do not want to look at this document.

   9    And there are some who will look at it a little, some who

  10    will --

  11                THE COURT:     And it's --

  12                MR. ABRAMS:      -- look at it a lot.

  13                THE COURT:     It's going to be --

  14                MR. ABRAMS:      And this precludes that.

  15                THE COURT:     It's going to be -- no, it does not

  16    preclude it.     Anyway --

  17                MR. ABRAMS:      I --

  18                THE COURT:     -- have you ever seen a disclosure

  19    statement before now?

  20                MR. ABRAMS:      I have looked at one to prepare for this

  21    but --

  22                THE COURT:     You may have heard me joke with Mr.

  23    Karotkin in the past, no Manhattan phone books, but some

  24    disclosure statements look like             Manhattan phone books.

  25                MR. ABRAMS:      Right.

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   1                 THE COURT:     Not San Francisco phone books; they're

   2    thinner.      But they're very complicated and almost like, holy

   3    mackerel, there's just too much stuff there.                 Wait till the

   4    hearing on the disclosure statement when I tell Mr. Karotkin I

   5    think there's too much in there anyway.

   6                 MR. ABRAMS:      Well, I hope, Your Honor, that there is

   7    an executive summary --

   8                 THE COURT:     There will be.

   9                 MR. ABRAMS:      -- for those who want very little, and

  10    then throw the phone book in there for the people who want the

  11    phone book.

  12                 THE COURT:     There will be, and you --

  13                 MR. ABRAMS:      I would --

  14                 THE COURT:     -- and you can have your own copy of the

  15    phone book, and --

  16                 MR. ABRAMS:      Okay.

  17                 THE COURT:     -- I welcome that.         Listen, I have to move

  18    on.      I want to --

  19                 MR. ABRAMS:      Can I make one last point, Your Honor?

  20                 THE COURT:     Yes, you may.

  21                 MR. ABRAMS:      The things that have been brought up that

  22    are now changing, like you don't have to take stock, the only

  23    reason why those things occurred was because the information

  24    got out and because people started to say I don't want stock, I

  25    don't want the company that burned my home down to rely upon

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   1    them for stock.

   2                THE COURT:     There might be some people, you know, who

   3    want the stock.

   4                MR. ABRAMS:      There might be.       There --

   5                THE COURT:     Because some people will tell you that

   6    when a company comes out of bankruptcy they sometimes have a

   7    spike in the stock values.

   8                MR. ABRAMS:      My point, Your Honor, is that the only

   9    reason why those things are changing is because of

  10    transparency, is that despite the efforts of the RSA to not

  11    have that information come out, it has.               So --

  12                THE COURT:     Well, your --

  13                MR. ABRAMS:      -- it just demonstrates my point --

  14                THE COURT:     No, you're being --

  15                MR. ABRAMS:      -- that if there's more transparency, it

  16    will actually benefit victims --

  17                THE COURT:     But I think --

  18                MR. ABRAMS:      -- regardless of their views.

  19                THE COURT:     But Mr. Abrams, I think it makes the point

  20    of all the people that spoke, that they are not your opponents

  21    here.    They are all moving towards a goal, and so are you.

  22                Anyway, I'm going to leave it at that.              I appreciate

  23    your comments.       I'm going to overrule your objections.              I'm not

  24    going to get involved in the details about whether you carried

  25    your burden of the motion to reconsider.               As I say, from a

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   1    trial judge point of view, my goal is to do what I think is the

   2    right thing to do.        And there have been many times when I've

   3    been told I can't consider a motion to reconsider, then I'll

   4    say, well, you know what, I'm going to consider it, because I

   5    went to Baby Judge School to learn how to do what I think is

   6    the right result.       And I'm persuaded that this is the

   7    preferable result.        That is to say, it's not a right or wrong;

   8    it's preferable to the alternative that you are suggesting.

   9                And I think that you should be encouraged by the fact

  10    that there are things that are happening and things like the

  11    kind of things that Mr. Skikos and Mr. Marshack talk about.

  12    And there will be an attempt by me and hopefully by you and

  13    others to make that Manhattan phone book look simple for those

  14    who want it simple but complex for those who want to look at

  15    the complexity.

  16                And at the end of the day, as I said to Mr. Karotkin,

  17    you, as an individual person, citizen, claimant, you can argue

  18    as much as you wish, and you're free to do it, if you think

  19    it's the wrong thing to go for this plan.               And --

  20                MR. ABRAMS:      That's why I'm here.

  21                THE COURT:     And you'll have that opportunity in due

  22    course, not yet.       And when I approve the disclosure statement,

  23    that's when the company will be obligated to promulgate that

  24    disclosure statement and the balance and the information that

  25    hopefully will answer many of the questions that you would like

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   1    answered.

   2                I cannot go back and say Mr. Abrams is right, every

   3    time the word "shall" appears we have to change it to "may".                   I

   4    simply am not permitted to second guess you.                You heard me say

   5    before, and you quoted me in the briefs, that I'm not in a

   6    position to second guess the judgments of the professionals

   7    that did this.       And maybe it would have been better if it said

   8    "may" instead of "shall", but --

   9                MR. ABRAMS:      Yes.

  10                THE COURT:     -- but you heard a number of people

  11    explain the iterative process, the complex process that got to

  12    the point, and I'm not in a position to take the risk of

  13    jeopardizing it.

  14                So again, I'll leave it at that.             I'll sign an order

  15    that Mr. Karotkin can submit that just indicates that for the

  16    reasons stated on this record -- and this is the record, if you

  17    want to preserve it -- that we'll overrule your objections to

  18    the motions on, in effect, deny -- excuse me, deny your motion

  19    for reconsideration.        And so the order will be -- well, it's

  20    already in place as to the agreements.

  21                And I thank you for your effort, and I hope you will

  22    continue to be proactive in working with people like Ms. Dumas

  23    to get the information that you need.              I know she'll give you

  24    the courtesy; that's what she does.              So I'll see you --

  25                MR. ABRAMS:      Thank you, Your Honor.

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   1                THE COURT:     I presume I'll see you again.              Thank you

   2    for your time.

   3                MR. ABRAMS:      Thanks.

   4                THE COURT:     Mr. Karotkin, do you want to take a few

   5    minutes and talk about my concerns about the disclosure and the

   6    plan?    Are you ready for the surprise from me?               I didn't mean

   7    to do that to you last night.            It was only me and my short

   8    staff, and I wish I could have given you my thoughts earlier; I

   9    just couldn't do it.        But I do have a couple of concerns, and I

  10    hope it's not too late to fix them.              Is it?

  11                MR. KAROTKIN:      I don't -- it's not too late; however,

  12    in your noticing order you did say that this notice had to be

  13    completed by the end of this week.

  14                THE COURT:     Right.      Right, but --

  15                MR. KAROTKIN:      Which --

  16                THE COURT:     Which is Friday.

  17                MR. KAROTKIN:      Which is -- now remember --

  18                THE COURT:     Valentine's Day.

  19                MR. KAROTKIN:      I mean, this is going to in excess of

  20    400,000 people.

  21                THE COURT:     Mr. Karotkin, I'm not going to stop the

  22    presses.     I'm going to tell you what -- there's one thing that

  23    I think didn't get done --

  24                MR. KAROTKIN:      Right.

  25                THE COURT:     -- that I directed.         There's another thing

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   1    that I think creates an ambiguity, and there are a couple of

   2    points that I'd like you to --

   3                MR. KAROTKIN:      Sure.

   4                THE COURT:     -- consider if -- the one thing that got

   5    lost in the shuffle, and if I missed it, I missed it twice,

   6    because I went back through the notice.                I did indeed look at

   7    the comment on the notice.             But I gave you, through your staff,

   8    a list of things that I wanted to add to the notice, and one of

   9    them didn't get there.         And that was the May 19th date and time

  10    for the confirmation hearing and the notice about it being

  11    there.    And I grant you, that will be in the notice of approval

  12    of the disclosure statement, but I wanted it there in the first

  13    notice that went out also, and it didn't get there.                    And so

  14    that's one thing.

  15                MR. KAROTKIN:      Right.

  16                THE COURT:     And if it's too late to fix it, I'm not

  17    going to fall on my face, but if you have time to fix it, then

  18    I'd like it fixed.

  19                The other thing is really more of confusion, and maybe

  20    it's my -- well, first of all, do you want to respond to that?

  21    I mean, I didn't miss it. It's not in there, is it?

  22                MR. KAROTKIN:      No, no, you're correct.

  23                THE COURT:     Okay.       So let me see if I can -- so on

  24    page -- wait a minute.         I've got to get my notes, because I was

  25    doing these last night.         Give me one second.          So in the --

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   1    there's confusion between two statements, I think.                  So looking

   2    at the notes -- yeah, on the notice -- bear with me, please.

   3                On the order, not the notice -- on the order that I

   4    issued the day before, on the 6th, that led to the notice,

   5    there was an item in there for February 21, 4 p.m., deadline

   6    for filing summary of fire victim claims resolution procedures.

   7    That is not in the notice.

   8                But what's more confusing is, in the disclosure

   9    statement itself, on page 5, there is, in bold:                 "If you are a

  10    fire victim, please see the enclosed fire victim claim plan

  11    treatment summary", and that hasn't been produced.                  And so I

  12    don't know -- you need to tell me if "fire victim claim plan

  13    treatment summary" is the same as "fire victim claim resolution

  14    procedure".     If it's the same document with two titles, then

  15    it's more confusing.        And if it's two different documents, then

  16    when is it going to happen?            In other words, what were you

  17    going to do on the 21st of February and --

  18                MR. KAROTKIN:      Okay.

  19                THE COURT:     -- and where is it?         So tell me --

  20                MR. KAROTKIN:      Okay.     So --

  21                THE COURT:     -- what's the story?

  22                MR. KAROTKIN:      So I think what we discussed last week

  23    was, on the 21st, the tort claimants committee, which is

  24    drafting the claims resolution procedures, would provide and

  25    file a summary --

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   1                THE COURT:     Right.

   2                MR. KAROTKIN:      -- of that document, which would

   3    then -- would be incorporated, as appropriate, in the

   4    disclosure statement.

   5                THE COURT:     So that is the document that's referenced

   6    on page 5?

   7                MR. KAROTKIN:      No, it's not the document.            What we

   8    have prepared, and the reason it wasn't filed is that the tort

   9    claimants committee is still reviewing it is, I would say,

  10    something similar to what you alluded to before, a short one-

  11    or two-page summary, solely for the benefit of fire claimants,

  12    which explains to them, in a page or two, exactly what they're

  13    getting and how it's going to work.

  14                THE COURT:     Right, what Mr. Abrams just called

  15    "executive summary".

  16                MR. KAROTKIN:      Exactly.

  17                THE COURT:     Well, that's exactly what I had in mind

  18    too.

  19                MR. KAROTKIN:      Exactly.

  20                THE COURT:     But my point is that --

  21                MR. KAROTKIN:      And again, but Your Honor, all I'm

  22    telling you is that the tort committee is still reviewing that

  23    document.

  24                THE COURT:     I got it, but --

  25                MR. KAROTKIN:      Okay.

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   1                THE COURT:     But the --

   2                MR. KAROTKIN:      But it's different from the February 21

   3    document.

   4                THE COURT:     But it's almost the same title.             In other

   5    words, one of them has the word "resolution", and one of them

   6    doesn't, but let's not play games about it; when is it going to

   7    happen?     In other words, if the disclosure statement has been

   8    filed, and it won't be disseminated among all the fire

   9    claimants but the notice will, and it'll attract people's

  10    attention.     So when someone gets the notice of the hearing or

  11    the notice of the disclosure statement hearing, and chooses to

  12    look at the disclosure statement itself, which is docket 5700,

  13    that says "to be filed".          So what's the later time when that's

  14    going to be filed?

  15                MR. KAROTKIN:      We would expect that to be filed around

  16    February 21.

  17                THE COURT:     Well, okay, and that's --

  18                MR. KAROTKIN:      And we have that information.

  19                THE COURT:     That's a good answer.          In other words, I'm

  20    okay with that if -- and I couldn't tell if it was -- it

  21    doesn't say.     First of all, the confusion was it looked to me

  22    like you were using two similar titles for --

  23                MR. KAROTKIN:      No.

  24                THE COURT:     -- the same document.          I'll take your word

  25    for it.

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   1                But Ms. Dumas, are you there?            Do you --

   2                MS. DUMAS:     Yes, sir.

   3                THE COURT:     You understand these are two different

   4    documents then, right?

   5                MS. DUMAS:     Yes, sir, I do.        And I think the confusion

   6    lies in the fact that the debtor has prepared a summary in

   7    which the executive summary written for the lay person is to be

   8    inserted.     That's what we're working on right now, and it's

   9    that insert to which Mr. Karotkin refers as being the document

  10    that the TCC continues to review along with the consenting fire

  11    claim professionals.

  12                THE COURT:     I mean, I won't second guess you both.

  13    You both have assured me they're two different documents, one

  14    or the other, and I remember when we talked at the hearing last

  15    week about the deadlines.          There's no question that we had a

  16    discussion, because I signed the order that includes and

  17    references the February 21 deadline for resolution procedures

  18    summary.

  19                It wasn't until -- unfortunately it was yesterday,

  20    although I could have done it on the weekend; I actually did

  21    something else for a while -- when I looked at the disclosure

  22    statement itself that I saw the blank, if you will, page 5.

  23    And so it was confusion because the document identified on page

  24    5 is not mentioned in the order that I signed.

  25                So look, can we -- first of all, Mr. Karotkin, is

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   1    there time to change the notice to put in the thing that I

   2    mentioned previously --

   3                MR. KAROTKIN:      Yes.

   4                THE COURT:     -- about the missing date?           I don't want

   5    you to throw out 450,000 --

   6                MR. KAROTKIN:      No, we stopped the presses.

   7                THE COURT:     -- documents.        You know the Geico

   8    commercial where the guy throws away all the fliers about

   9    something?

  10                MR. KAROTKIN:      Yes.     We have stopped --

  11                THE COURT:     Okay.

  12                MR. KAROTKIN:      We have stopped the presses on this.

  13                THE COURT:     Well, then it seems to me then, and it

  14    would be appropriate in my mind to put into that notice --

  15    again, I don't want to overdo it, but the notice could also, I

  16    think, just say what's going to happen on the 21st so that

  17    people like Mr. Abrams and others, who want to be on top of

  18    what's going on, can be told when they'll see this thing.                     And

  19    if they are told that something will be available on the 21st

  20    or some other date then that, to me, is helpful.

  21                So I guess what I'm saying to you then, Mr. Karotkin,

  22    if it's not going to create total chaos, that the notice should

  23    be amended to add the May 19th date and time and the bold

  24    warning.     So again, it's early notice for people.                And also to

  25    include the two items that you now believe can be filed on the

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   1    21st instead of the one that's in the order but not in the

   2    notice.     Are you with me?

   3                MR. KAROTKIN:      I'm with you.

   4                THE COURT:     Okay.

   5                MR. KAROTKIN:      I just -- it will be dependent on Ms.

   6    Dumas and her client getting that to us before the 21st.

   7                THE COURT:     Well, you know, if you told me it's got to

   8    be the 28th or March 5th --

   9                MR. KAROTKIN:      Okay.

  10                THE COURT:     -- or some other date, I'm not -- I think

  11    it's important that it be, certainly, a little bit before the

  12    disclosure statement.         It's relevant to disclosure.

  13                Ms. Dumas, can you -- it doesn't have to be February

  14    21st.     Pick a date.     Give me a date when you and Mr. Karotkin

  15    can be --

  16                MR. KAROTKIN:      Well, we can leave the February -- the

  17    February 21st date is fine on your order, okay?                 That's the

  18    document Ms. Dumas will file.            I would suggest that, with

  19    respect to the disclosure statement and the summary, that we

  20    get a few more days to do that.

  21                THE COURT:     Pick it; make me an offer.

  22                MR. KAROTKIN:      I don't know, what's the 28th?             Is

  23    that -- I don't have a calendar in front of me.                 What day of

  24    the week is that?

  25                THE COURT:     Well, I mean, it's one week after the

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   1    21st.    It's --

   2                MR. KAROTKIN:      Which is -- how about the 28th?

   3                THE COURT:     The 28th is a Friday.

   4                MR. KAROTKIN:      Okay.

   5                THE COURT:     Ms. Dumas, again, I want you two to be

   6    comfortable.     I don't want to make stupid rules here.                Can you

   7    live with that?

   8                MS. DUMAS:     Yes, Your Honor, we are comfortable, and

   9    it's helpful to hear the Court's questions about a process in

  10    which we've been engaging with Mr. Karotkin and his colleagues

  11    and the consenting fire claimant professionals.                 We believe we

  12    were on track --

  13                THE COURT:     Well --

  14                MS. DUMAS:     -- and still are on track.           We --

  15                THE COURT:     But I owe you both an apology.             It wasn't

  16    my first choice, at 10 o'clock last night, to say there's a

  17    problem with this notice and stop the presses and if --

  18                MS. DUMAS:     Right.

  19                THE COURT:     If he'd already gone to press, I would

  20    have gotten over it, but I thought --

  21                MR. KAROTKIN:      We should have said we already went to

  22    press.

  23                THE COURT:     Yeah, you should have, like the Geico ad;

  24    the guy had already sent out all of the flyers.

  25                But the point is, I would ask you to be mindful of the

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   1    need to keep things simple, and fire victim claim resolution

   2    procedure -- "summary of fire victim claim resolution

   3    procedure" and "fire victim claim plan treatment summary"

   4    sounds awful similar.

   5                MS. DUMAS:     We will fix that.

   6                THE COURT:     And something that just clarifies it.

   7                MR. KAROTKIN:      Sure.

   8                THE COURT:     Okay.       So Mr. Karotkin, I'm on a roll now.

   9    If you can make the following additional changes, I would

  10    appreciate it.       I'm not going to have a fit about it if it

  11    can't be done.

  12                On the notice, on page 3, this is a very small point,

  13    but you indicate that the core parties; you use that term -- I

  14    called it my guest list -- the core parties have to email their

  15    comments or their objections to the parties listed in paragraph

  16    4(c)(v), and I believe the parties in 4(c)(v)(A), is the clerk

  17    of the court, and I don't want the clerk of the court to be

  18    getting -- or the court officer getting all those emails of

  19    objections to disclosure statements.

  20                So perhaps in the notice, on page 3, line 2, where it

  21    says paragraph 4(c)(v), you could put something like "other

  22    than the clerk of the court" or just something to ensure -- the

  23    clerk of the court will get them anyway, but let's attempt to

  24    make sure the clerk's office isn't getting people's comments

  25    on -- because we won't know what to do with them.                   The clerk's

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   1    office, what are they going to do?              They're going to send them

   2    to me in chambers, and that's exactly what I don't want to do

   3    is to be in the middle of the discussion that's dealing with

   4    objections to the disclosure statement.                Are you okay with

   5    that?

   6                MR. KAROTKIN:       Yes.

   7                THE COURT:      The only other thing, a couple of minor

   8    points, even more minor, on February 28th, according to the

   9    order establishing the schedule, you had put in "deadline for

  10    final form of subrogation wildfire trust agreement", and that

  11    didn't show up in the order, and I wondered if that's a big

  12    deal.     I mean --

  13                MR. KAROTKIN:       Is it --

  14                THE COURT:      In other words, on the notice, where you

  15    go, on page --

  16                MR. KAROTKIN:       I don't think it's a big deal for the

  17    notice.

  18                THE COURT:      It's just an additional -- I mean, what

  19    I'm trying to do is let the notice be letting people who are

  20    involved -- again, using Mr. Abrams, but others too, at least

  21    have a short checklist of what are some coming attractions.                    So

  22    there's the summary, there's the pre-hearing date, there's

  23    the -- you had not put in the deadline.                Well, March 9th is the

  24    date you were going to file a revised plan or disclosure

  25    statement also.        And --

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   1                MR. KAROTKIN:      But again, Your Honor, this is notice

   2    of the disclosure statement hearing.

   3                THE COURT:     Well, but it's also relevant dates.                 It's

   4    all these other dates.

   5                MR. KAROTKIN:      But we didn't -- we tried to be -- we

   6    didn't want to have, like, a twenty-page notice, so we tried to

   7    include what we thought was more relevant for this hearing.

   8    Now, look, we'll do whatever you want.

   9                THE COURT:     Mr. Karotkin, as I say, I wouldn't make a

  10    big deal of it except we have the option.                Under "relevant

  11    dates", you've listed four of them.               I just want to add a

  12    couple more so that people that are following this case,

  13    whether it be Mr. Abrams or the media or the public, just can

  14    see a short checklist of what are coming attractions.

  15                MR. KAROTKIN:      Okay.

  16                THE COURT:     So --

  17                MR. KAROTKIN:      We will add those dates, and we will

  18    send it to chambers.

  19                THE COURT:     No, just go.        I won't say another word.

  20    Don't send it to chambers.             Just send it --

  21                MR. KAROTKIN:      Are you sure?

  22                THE COURT:     I'm sure.

  23                MR. KAROTKIN:      Okay.

  24                THE COURT:     I'm sure.       Well, the last time chambers

  25    sent you the March 9th or May 19th day that didn't get in

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   1    there, but     --

   2                MR. KAROTKIN:      Yes.

   3                THE COURT:     -- that's okay.

   4                MR. KAROTKIN:      That's my mistake.

   5                THE COURT:     No, it's not a mistake.           It's complicated.

   6    Things are happening.         No, I want you to be able to get this

   7    notice out on time, and I don't want to -- I've got enough to

   8    do on my side.

   9                MR. KAROTKIN:      Okay.

  10                THE COURT:     So --

  11                MR. KAROTKIN:      All right.       So we'll take care of that.

  12                THE COURT:     So I have a question for you because we

  13    had to cut things off last week a little bit in short notice,

  14    are we really going to have to have a hearing -- I mean, do you

  15    anticipate there will be a hearing to estimate, for voting

  16    purposes, the FEMA and Cal agency's claims?

  17                MR. KAROTKIN:      Perhaps.

  18                THE COURT:     Do you know if they're going to vote?              I

  19    mean, maybe they -- I mean, I'll ask the rhetorical question,

  20    not to ask their counsel to tell me, but perhaps for you to ask

  21    their counsel.       If they're not going to vote then we shouldn't

  22    worry about temporary allowance, and if they are going to vote,

  23    it might depend on how they're going to vote.                 But I'd like to

  24    avoid a battle that doesn't have to be fought.

  25                MR. KAROTKIN:      I would suggest that you give us

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   1    another few days to consult with them.               We've been consulting

   2    with them on a briefing schedule as well for the classification

   3    issue, and I think we're close but --

   4                THE COURT:     Okay.

   5                MR. KAROTKIN:      -- give us a couple of more days on

   6    that and we can report back.

   7                THE COURT:     Yeah.       No, you can do it on the normal

   8    cycle or stipulation.         I'm yours to do what you want and the

   9    litigants want me to do for scheduling.               With a few very minor

  10    exceptions, my schedule is clear all the way through.                   I

  11    frustrated --

  12                MR. KAROTKIN:      I was afraid --

  13                THE COURT:     -- Ms. Parada about --

  14                MR. KAROTKIN:      I was afraid of that, actually.

  15                THE COURT:     Yeah, I frustrated my courtroom deputy by

  16    cancelling a week I was going to be away in April.                  And so this

  17    is my priority, as I'm sure it's your priority, and so I'm

  18    going to accommodate you.          And so I will leave it to you or the

  19    other counsel who are here today.             Is there anything else that

  20    we need to talk about that is relevant to scheduling things

  21    that are coming up?        And if the answer is no, then I'll wait.

  22    If you have something to tell me about, let's talk about it.

  23                MR. KAROTKIN:      Yes, one more thing.

  24                THE COURT:     Yes.

  25                MR. KAROTKIN:      The financing motion.

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   1                THE COURT:     Right.

   2                MR. KAROTKIN:      We had said that we were going to file

   3    amended pleadings yesterday.

   4                THE COURT:     Right.

   5                MR. KAROTKIN:      Our current plan, Your Honor, is

   6    that -- there are two elements to the financing motion.

   7    There's the equity piece, and there's the debt piece.                   The

   8    equity piece has not changed, and we would like to go forward

   9    with that on the 19th.

  10                THE COURT:     On the 19th, next week.

  11                MR. KAROTKIN:      Next week.

  12                THE COURT:     Okay.

  13                MR. KAROTKIN:      With respect to the debt piece, because

  14    of the noteholder RSA, that will be changing, and we would

  15    request that we file -- we're in discussions with the banks on

  16    that piece of it, and we would request that we file an amended

  17    pleading on this coming Monday, with respect to that element of

  18    the motion, and subject to Your Honor's availability, have the

  19    debt piece heard on the 26th, which is a regular date.

  20                THE COURT:     Remember that next Monday is a holiday.

  21    The electronic court is open but it's not -- it's a federal

  22    holiday.     So you would file it on the 17th, and hear it on

  23    the --

  24                MR. KAROTKIN:      26th.

  25                THE COURT:     -- 26th.      Well, let me ask you this.           Do I

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   1    recall correctly?       The governor's office had filed an objection

   2    to some aspect of the financing motion.               Was it across the

   3    board or just --

   4                MR. KAROTKIN:      I think it was across the board.

   5                THE COURT:     And is anyone here for the governor's

   6    office on the phone or in court?

   7                MR. HINKER:      Good afternoon.       Mat Hinker from

   8    O'Melveny & Myers.

   9                THE COURT:     Do you intend to go forward on an

  10    opposition to the equity piece on the 19th?

  11                MR. HINKER:      We do, Your Honor, and potentially to

  12    cross-examine the debtors' witnesses.

  13                THE COURT:     Well, we weren't going to have a live

  14    hearing, were we?       Were you anticipating witnesses for that

  15    hearing?

  16                MR. KAROTKIN:      We have a declarant --

  17                MR. HINKER:      I believe they submitted a declaration --

  18                THE COURT:     Wait, I'm sorry, on the phone, just repeat

  19    what you said.       I didn't -- I was confused by what you said,

  20    so --

  21                MR. HINKER:      I believe the debtor submitted a

  22    declaration in support of that motion, so I would anticipate

  23    cross-examining the declarant.

  24                THE COURT:     Well, you mean -- are you going to do a

  25    deposition or you mean in open court?

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   1                MR. HINKER:      In court, Your Honor.

   2                THE COURT:     Were you aware of that before?

   3                MR. KAROTKIN:      No.

   4                THE COURT:     So do you have your witness available on

   5    the 19th?

   6                MR. KAROTKIN:      Yes.

   7                THE COURT:     Well, I'm sorry, on the phone, I just

   8    didn't hear your name.         I mean, how much time do you want?             I

   9    need to schedule so we don't -- we don't necessarily have a

  10    problem on that day, but generally I need a heads up if there's

  11    going to be live testimony.            So how much time do you anticipate

  12    needing?

  13                MR. HINKER:      We can do it by deposition, Your Honor,

  14    if that's acceptable to Mr. Karotkin.              Otherwise I'd really

  15    need probably a few hours.

  16                THE COURT:     A few hours?       Well, I can't set aside a

  17    few hours for a trial.         So --

  18                MR. KAROTKIN:      Why don't we consult with him after the

  19    hearing?

  20                THE COURT:     Okay.       How about on the follow-up, on the

  21    26th, is the governor's office going to be objecting to what's

  22    called the debt portion of the financing?

  23                MR. HINKER:      Hard to say, Your Honor, without seeing

  24    the revised pleading, but we would anticipate, at this point,

  25    yes.

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   1                THE COURT:      Mr. Karotkin, would it be efficient to put

   2    them together?        I mean, is it really critical to do the equity

   3    a week early?        I mean, especially if there's going to be a

   4    trial?    I mean, again, I will accommodate a little bit, but

   5    what's critical about the 19th compared to scheduling them

   6    together?     And you can take this up later if you want.

   7                MR. KAROTKIN:       Why don't we take it up later?

   8                THE COURT:      Yeah.       I'll, for now, assume, and Ms.

   9    Parada will keep on our docket that, for the 19th, we're going

  10    to have a portion of the existing financing motion, and it

  11    might include some reasonable amount of time for witness

  12    examination.     And Mr. Karotkin will be noticing for the 26th

  13    the other aspect of that motion.              He'll file by the 17th, and

  14    that'll be heard on the 26th, and --

  15                MR. KAROTKIN:       With an objection deadline for the

  16    amended motion on the 25th, Your Honor, is fine with us.

  17                THE COURT:      Yes.      Objection 25th.      Correct.     And you

  18    will confer with the governor's office about how they want to

  19    prepare that.

  20                Now, were there any other known objections to that

  21    motion?

  22                MR. KAROTKIN:       No.

  23                THE COURT:      All right.       Well, again, if there's any

  24    counsel on the phone or in court who anticipates objecting to

  25    that motion, would you please let me know right now that you

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   1    anticipate objecting?         Okay.     Silence is deafening.

   2                All right.     What's next?

   3                MR. KAROTKIN:      I don't believe anything else.

   4                THE COURT:     Anyone?      Ms. Dumas?     Anyone want to be

   5    heard?

   6                Mr. Bray.     Or are you trying to leave?

   7                MR. BRAY:     No, Your Honor.        I actually did just want

   8    to take a couple of minutes of your time.

   9                THE COURT:     Sure.

  10                MR. BRAY:     But I have a cold, so sorry if my voice is

  11    a little squeaky.

  12                THE COURT:     Just stay down there.

  13                MR. BRAY:     I understand.       I woke up with it this

  14    morning.     I got it here.

  15                THE COURT:     Go stand next to Mr. Karotkin.

  16                MR. BRAY:     Gregory Bray, Milbank, Your Honor, counsel

  17    for the official committee.            I just wanted -- my comments are

  18    more directed to the scheduling order the Court entered to the

  19    process going forward.         I think we're somewhat concerned, we

  20    being the committee, that there's an assumption the committee

  21    has signed off on the plan.            That's not the case.

  22                THE COURT:     No, I know that.

  23                MR. BRAY:     Okay.    I just want to be sure.           Then we

  24    have wood to chop still.          We have some legal issues.           We have a

  25    statutory responsibility, for lack of a better word.

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   1                THE COURT:     But you remember, I don't like plan

   2     objections in disclosure statement objections.

   3                MR. BRAY:     I understand that, Your Honor.

   4                THE COURT:     Okay.

   5                MR. BRAY:     And trying to be transparent.           We certainly

   6     will not weigh in at the disclosure statement with plan issues

   7     that we think if resolved in our favor at the plan would not

   8     completely derail the process.

   9                If we have an objection that we think could actually

  10     derail confirmation, I think we will raise it with you at the

  11     disclosure statement hearing, and you could decide if you want

  12     to take it up ahead of time or not.

  13                THE COURT:     Well, but what I've said before in the

  14     prior case and in lots of cases, if it goes to the heart of --

  15                MR. BRAY:     Exactly.

  16                THE COURT:     -- confirmable as a matter of law, then I

  17     want it early.

  18                MR. BRAY:     And I'm saying the same thing, Your Honor.

  19                THE COURT:     And that's what I did in the first case,

  20     and that's what derailed the plan at a point.

  21                MR. BRAY:     And we will abide by that, Your Honor.             I

  22     just want to be transparent and let the Court know that we have

  23     not been able to assess the feasibility of the plan yet, for

  24     example.    We haven't seen a business plan.           We've been trying

  25     to get one for some time.         There is a meeting now scheduled,

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   1     I'm pleased to report, with the debtors' financial advisors to

   2     go through a business plan, and I'm sure we'll have a number of

   3     questions.

   4                THE COURT:     But feasibility triggers confirmation

   5     issues.

   6                MR. BRAY:     Correct.

   7                THE COURT:     Not matter of law issues.

   8                MR. BRAY:     I understand.

   9                THE COURT:     Unless it's fatally --

  10                MR. BRAY:     I only want to be transparent so someone

  11     doesn't stand up later and say you should have brought these

  12     things up sooner.       All I'm trying to advise the Court is we're

  13     not there right now.

  14                THE COURT:     Got it.

  15                MR. BRAY:     And I just don't want any assumptions the

  16     other --

  17                THE COURT:     Well, I'm sure Mr. Karotkin is not hearing

  18     this for the first time either

  19                MR. BRAY:     No, he's not.

  20                THE COURT:     Okay.

  21                MR. BRAY:     Thank you, Your Honor.

  22                THE COURT:     All right.      Anyone else want to be heard?

  23     Wait before you make your appearance.

  24                Oh, yes.     Mr. Karotkin, I want to remind you that I'm

  25     scheduled to have my Chapter 13 calendar for a short time on

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   1     the 19th at 1.      Now, you can sit in on the Chapter 13 calendar

   2     for a few minutes if you like, but if we have an evidentiary

   3     hearing that goes forward on the 19th, we may have to take a

   4     break.    That Chapter 13 calendar is fairly short, but I can't

   5     change it.    Okay.

   6                MR. KAROTKIN:        That's fine.     Thank you.

   7                THE COURT:     Gotcha.

   8                MR. TROY:     Good morning, Your Honor.         Matthew Troy,

   9     Department of Justice --

  10                THE COURT:     Yes.     Mr.   Troy.

  11                MR. TROY:     -- Civil Division, on behalf of various

  12     federal agencies.       I have one issue to raise with Your Honor

  13     with respect to the notice and a couple more with the order,

  14     only one of them, I think, being really substantive.

  15                The first, on the notice, Your Honor, on page 4 --

  16     actually starting at page 3 --

  17                THE COURT:     Okay.     Wait one second.      I got to get to

  18     my notice.    Okay.     Page?    Okay.

  19                MR. TROY:     Starting at page 3 at the very bottom.

  20                THE COURT:     Yes.

  21                MR. TROY:     It states that, "Disclosure statement or

  22     solicitation objections must".           So this is the objection to the

  23     disclosure statement and/or an objection to the voting

  24     procedures motion.       "The solicitation procedures motion must be

  25     in short, concise, bullet points without points and authorities

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   1     in support."

   2                Disclosure statement, no argument.            Hear you loud and

   3     clear on how you want that approached.            But an objection to a

   4     substantive motion, Your Honor, I would submit, filed with the

   5     Court, if not previously resolved, should not be presented in a

   6     bullet point fashion with no citation to authority.

   7                THE COURT:     Well, that's not something that we talked

   8     about except in the context of disclosure statement.

   9                MR. TROY:     Right.    But the way it's framed here is it

  10     encompasses objections to both disclosure statement and the

  11     solicitation procedures motion.

  12                THE COURT:     No, I understand.

  13                Mr. Karotkin, you want to weigh in on that?

  14                I just -- I hadn't thought about it.

  15                MR. TROY:     And I apologize to Mr. Karotkin.           I didn't

  16     have a chance to raise it with him previously.

  17                THE COURT:     It's all right.       It's all right.

  18                MR. TROY:     So I didn't mean to say he wasn't engaged

  19     on this.

  20                THE COURT:     I mean, is this an issue?          I mean, Mr.

  21     Troy, is there -- is this going to be solicit --

  22                MR. TROY:     Your Honor, there might --

  23                THE COURT:     But it's not going to be solicitation

  24     material, right?

  25                MR. TROY:     No, it's actual -- no, this is the voting

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   1     procedures motion, Your Honor.          If you look at paragraph 2 on

   2     page 2 of the notice, this is that the debtor will file on or

   3     before February 18th a motion requesting that the Court approve

   4     plan solicitation and voting procedures.

   5                THE COURT:     Right.      But it's solicitation procedures.

   6                MR. TROY:     Voting procedures, Your Honor.           And I

   7     think, as you recall from the last hearing, there might be an

   8     issue with that.

   9                THE COURT:     I mean, well, Mr. Karotkin, you're going

  10     to have to respond.       I don't --

  11                MR. KAROTKIN:      I mean, this is -- I wish Mr. Troy had

  12     called me.    I mean, this is kind of, like, ridiculous at this

  13     point.

  14                THE COURT:     Well, that's --

  15                MR. KAROTKIN:      Why don't we say, "State with

  16     particularity in short, concise bullet points the basis and

  17     nature of any objection or response to the disclosure

  18     statement."    Okay?     Does that work for you?

  19                MR. TROY:     That's fine.

  20                MR. KAROTKIN:      Okay.

  21                THE COURT:     Well, Mr. Troy, give me a heads up on

  22     what's beneath the surface here.           What do you --

  23                MR. TROY:     Well, I think what you heard at the last

  24     hearing, Your Honor, is that the debtors are going to file in

  25     their solicitation procedures motion a voting procedure that

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   1     says --

   2                THE COURT:     Right.

   3                MR. TROY:     -- everyone who, as a creditor, who's being

   4     channeled to the fire victim trust will have one vote in the

   5     amount of one dollar.

   6                THE COURT:     Well, this goes back to the question I

   7     asked before I realized you were here in the room.                Are you in

   8     a position to tell me whether you're going to vote?                I mean, is

   9     FEMA going to vote?       Because they might choose not to vote, in

  10     which case it's not an issue.

  11                MR. TROY:     I don't know if a final decision has been

  12     made, Your Honor, but in my discussions with the various client

  13     agencies it's not just FEMA.          There are a number of agencies

  14     that are being channeled to the fire victim trust.                The

  15     presumption is that we will be voting, Your Honor.

  16                THE COURT:     Well, I certainly agree with you that the

  17     question of whether your claim is allowed at one dollar or some

  18     other amount is significant, and it impacts a lot, but it

  19     doesn't impact it at all if you choose not to vote as a matter

  20     of policy.    I mean, and again, I'm not anticipating what the

  21     government will do, but in my experience, in some cases, some

  22     institutional type parties simply choose not to vote.                   Your

  23     client, whichever one it wants to do it, will choose to vote or

  24     not as it chooses.       It's not for me to say.

  25                MR. TROY:     I understand, Your Honor.         The issue might

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   1     become moot, but it hasn't been decided yet, and this notice is

   2     going out.

   3                THE COURT:     I agree with you.        It's going out.      And in

   4     fairness to Mr. Karotkin, I think a lot of the discussion was

   5     focusing on disclosure, and this goes back to my experience.

   6     Again, I hate to sound like the oldest person in the room, but

   7     it was a technique that I implemented in the first PG&E case,

   8     and it was remarkably helpful, because I didn't need eighty-

   9     three twenty-page briefs about disclosures.              I wanted bullet

  10     points, and they work.        But I don't disagree with you.          If

  11     we're dealing with something substantive, you're entitled to

  12     lay it out completely.

  13                MR. TROY:     I appreciate it, Your Honor.

  14                THE COURT:     So I'm going to urge you to do the meet

  15     and confer.    But I will, just as a request, that you take it

  16     up, at some point, with your decision makers, and if, as a

  17     matter of policy, FEMA chooses or the agencies choose not to

  18     vote, then make the problem go away.            And if you choose to

  19     vote, then I think it's probably important, and we're not going

  20     to ask you to tip your hand on that ahead of time, because my

  21     guess is if you vote in favor of it, it might be a nonissue.

  22                But again, there may be votes against it.              And so I

  23     don't know how and when there will be a resolution to

  24     estimating for voting purposes the way Mr. Karotkin believes it

  25     can be done at one dollar, but I'll hear him if that's what he

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   1     says later on.

   2                MR. TROY:      Okay.

   3                THE COURT:      Okay?

   4                MR. TROY:      Turning to the order, Your Honor, you have

   5     a meet and confer requirement.

   6                THE COURT:      Correct.

   7                MR. TROY:      In the February 28th to March 5th time

   8     frame.    We'd simply request that that meet and confer include

   9     the TCC, Your Honor.        Very simply, every time the word trust

  10     agreement or claim procedures come out of my mouth, Mr.

  11     Karotkin refers to Ms. Dumas and TCC.

  12                THE COURT:      You mean to meet and confer with Ms.

  13     Dumas?

  14                MR. TROY:      Yes.     I mean, if some of these

  15     disclosure -- I just don't want to be caught in a position

  16     where the meet and confer does not include a party that really

  17     is controlling.

  18                THE COURT:      Well, I think, again, I'll let Mr.

  19     Karotkin respond to this, but the TCC is not a sponsor of the

  20     plan, right?        The plan --

  21                MR. TROY:      It is not a proponent, Your Honor.            But

  22     again, I --

  23                THE COURT:      And all I was thinking about that is the

  24     debtors and shareholders are pretty much aligned, and they are

  25     the disclosurer -- the disclosurer -- and therefore anyone who

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   1     objects to the disclosure should meet and confer on that

   2     subject.

   3                But Ms. Dumas, are you amenable to meet and confer

   4     with the federal government's agencies and anybody else who

   5     wants to talk about their objection?

   6                MS. DUMAS:     Yes, we are, Your Honor.         In conjunction

   7     with the debtor, we'd be more than happy to.

   8                THE COURT:     Is that sufficient on this record?

   9                MR. TROY:     That's fine, Your Honor.

  10                THE COURT:     That's fine for me too.

  11                MR. TROY:     Okay.    The other point, Your Honor, is Mr.

  12     Karotkin is correct.       We are talking about a possible schedule

  13     that we'd present to you to address the issue of

  14     classification.      I just wanted to get one clarification.                In

  15     looking back through the order, the deadline for March 6th on

  16     page 4 of your order includes the deadline for any creditor to

  17     file a motion pursuant to Bankruptcy Rule 3018 seeking

  18     temporary allowance in a different class or amount for purposes

  19     of voting on the plan.        That last phrase, Your Honor, seems to

  20     me to be more of a 3013 issue, and I would just seek

  21     clarification that the debtor -- the proponents are not viewing

  22     March 6th as a deadline for filing a 3013 motion.

  23                THE COURT:     Well, no.

  24                MR. TROY:     And I think --

  25                THE COURT:     I thought I had every single rule

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   1     memorized, but what's a 3013?           It's a motion.      Determine

   2     class --

   3                 MR. TROY:     I told Mr. Pascuzzi that if I said this to

   4     you, I knew you were going to tell me that you had no idea what

   5     you were talking about, and he said oh, don't worry about it.

   6     He will.

   7                 THE COURT:     Score one for Troy.        Okay.

   8                 So Mr. Karotkin, you know what Rule 3013 says, don't

   9     you?

  10                 MR. KAROTKIN:      By heart, yes.

  11                 THE COURT:     The court may direct, determine classes of

  12     creditors and equity security holders pursuant to 1122, 1222,

  13     and 1322(b).        Now, how many of you know what 1322(b) does?

  14                 Mr. Karotkin, what's the answer to Mr. Troy's

  15     concerns?    What should I do here?          I have --

  16                 MR. KAROTKIN:      To the extent that Mr. Troy or Mr.

  17     Pascuzzi are objecting to their classification of their claims,

  18     this was not intended to address that.             This is solely for

  19     voting.     And we will come up with a different schedule for the

  20     briefing on that.

  21                 THE COURT:     Let me just -- yes.        I mean, I understood

  22     it to be only for voting also.

  23                 MR. TROY:     Okay.

  24                 THE COURT:     Because you might have heard the comment

  25     last time.     In some other cases there are some devious lawyers

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   1     that like to do a gotcha, like, object to the claim the night

   2     before the hearing.       Then say whoops, no vote for you.           So

   3     that's why the objection deadline is early for those purposes

   4     too, so there's no gotchas either way.

   5                MR. TROY:     It's fine.     Mr. Karotkin's representation

   6     is fine, Your Honor.

   7                THE COURT:     Okay.

   8                MR. TROY:     The last point, Your Honor, is the

   9     substantive one.      And this goes back to the trust agreement and

  10     the claims resolution procedures, Your Honor.              I think, after

  11     today's colloquy with respect to the order and the notice

  12     between you and Mr. Karotkin and Ms. Dumas, that now we're

  13     seeing for the first time even just a summary of the claims

  14     resolution procedures on February 28th.             It was previous --

  15                UNIDENTIFIED SPEAKERS:         21st.

  16                MR. TROY:     21st.    So there's still going to be a

  17     summary of the claims resolution procedures filed on the 21st.

  18                MS. DUMAS:     That's correct.

  19                MR. KAROTKIN:      That's correct.

  20                MR. TROY:     Okay.    I apologize for that, Your Honor.

  21     Then my main point then goes to the trust agreement, Your

  22     Honor, and to a degree with the claims resolution procedures.

  23     Under your current order, substantially final forms of those

  24     aren't even filed until after the disclosure statement occurs.

  25                The disclosure statement hearing is on the 10th.

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   1                THE COURT:     Correct.

   2                MR. TROY:     That's their deadline for filing

   3     substantially final forms of the trust agreement and the claims

   4     resolution procedures.

   5                With respect to both, that is the first time that any

   6     fire victim creditor will actually see the trust agreement and

   7     the actual claims resolution procedures, as opposed to a

   8     summary, Your Honor.

   9                Now, Your Honor, I know.         I go back to your colloquy

  10     with Ms. Winthrop at the last hearing.            Is it really going to

  11     change how you vote?       I think you're going to know how you're

  12     going to vote whether or not you see those documents or not.

  13                THE COURT:     Yes.    It's your voter's pamphlet.

  14                MR. TROY:     Okay.    So I would agree --

  15                THE COURT:     So primaries are over today.

  16                MR. TROY:     I would agree, Your Honor.          But I would

  17     submit, Your Honor, that that is not the only touchstone for

  18     determining whether or not there has been adequate disclosure,

  19     Your Honor, such that if you don't get these documents until

  20     after the disclosure statement occurs, fire victim claimants,

  21     including the governmental entities who are being channeled to

  22     that fire trust, really don't know how their claims are going

  23     to be treated.

  24                Let me give you an example.          The plan still defines

  25     fire victim trust as one or more trusts to be established to

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   1     administer, address, settle fire victim claims.

   2                 THE COURT:    But we know there are three trusts, right?

   3     There's the governmental entity trust, subrogation trust, fire

   4     victims trust.

   5                 MR. TROY:    And the definition of fire victim trust

   6     alone in the plan, Your Honor, I'll read it to you.

   7                 THE COURT:    Well, I believe you.

   8                 MR. TROY:    1.79.    Fire victim trust means one or more

   9     trusts established on the effective date.             You're talking, in

  10     effect, I think, about sub-trusts.

  11                 THE COURT:    Ms. Dumas, can you help us here?

  12                 MS. DUMAS:    That is, in fact, what the plan says.

  13                 THE COURT:    Well, there are two questions.            Are there

  14     going to be multiple trusts for fire victims, as distinguished

  15     from subrogation or other governmental entities?                 And then

  16     secondly, when can the finals be seen, if not by March 10th?

  17     So what's the answer to the first one?

  18                 MS. DUMAS:    So the answer to the first question, oh,

  19     the number of trusts, it is currently contemplated that there

  20     will be one trust administered by Justice Trotter, as was

  21     indicated at the last hearing.

  22                 THE COURT:    So 1.179, more correctly, would be in the

  23     singular.

  24                 MS. DUMAS:    Yes.    That's the current contemplation.

  25                 THE COURT:    Okay.    I mean, that's the best I can tell

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   1     you at this point.

   2                 MR. TROY:    Well, that's kind of my point, Your Honor.

   3     I would submit that that's not adequate disclosure to say we

   4     currently contemplate there only being --

   5                 THE COURT:    Okay.    When will --

   6                 MR. TROY:    -- one trust, but we reserve the right to

   7     change it up until the effective date.

   8                 MS. DUMAS:    Okay.

   9                 THE COURT:    Ms. Dumas, when will the trust see the

  10     light of day for purposes of this calendar?              It's a March 10th

  11     date at the moment, and that's consistent or concurrent with

  12     the commencement of the disclosure statement.

  13                 MS. DUMAS:    We will endeavor to communicate with the

  14     government entities as early as practical in the process.                   As

  15     I've said at the last couple of hearings, there are a number of

  16     constituents working on a number of aspects of that trust plan

  17     protocol.    There is a suspicion on the part of the government

  18     entities, and we will find out if they're even claimants after

  19     the Court hears the claim objections, but we don't think their

  20     reimbursement claims or their prospective reimbursement claims,

  21     should they be allowed, would be treated any differently than

  22     any other fire claims.

  23                 THE COURT:    Well, but your pending objections, which

  24     are on calendar for later this month, say that they don't even

  25     have a right to assert a claim.          First of all, I haven't

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   1     decided that.       It hasn't been briefed.       I mean, the government

   2     hasn't responded to those objections yet.

   3                MS. DUMAS:     That's right.

   4                THE COURT:     And that was taken.        So look.     Can we

   5     simplify this?       Can you move up an earlier commitment for

   6     filing the trusts?       From earlier than March 10th.

   7                MS. DUMAS:     Oh.    I don't have authority to provide an

   8     earlier date.       I can --

   9                THE COURT:     Well, I do.

  10                MS. DUMAS:     -- commit to the Court that we will

  11     endeavor to have it ready as soon as possible.

  12                THE COURT:     Mr. Troy, wouldn't that be something that

  13     would be an objection to confirmation if there's something

  14     wrong the trust?       In other words, I'll concede the point that

  15     we can't have different rules for different cases really, and

  16     disclosure ought to help the voter make a decision.                But if you

  17     don't get the final trust until the day the Court approves the

  18     disclosure, you could raise it as a confirmation objection,

  19     couldn't you?

  20                MR. TROY:     Absolutely, Your Honor.

  21                THE COURT:     Yes.

  22                MR. TROY:     But the fact that an objection is a

  23     confirmation objection does not preclude the possibility that

  24     it's --

  25                THE COURT:     No.

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   1                 MR. TROY:    -- also a disclosure statement objection.

   2                 THE COURT:    I agree.     I agree.      But we just can't

   3     solve all the problems.        In other words, I could ask Ms. Dumas

   4     to use her best efforts to do it earlier.             I could order her to

   5     do it earlier.      But two days earlier?        Three days?      I mean, I

   6     just have to accept the complex task that everyone is dealing

   7     with, including you and me and everybody.

   8                 So make me an offer, Ms. Dumas.           Commit to a date a

   9     little earlier, and I'll tell Mr. Troy that's what it'll have

  10     to be.     Can you do it?

  11                 MS. DUMAS:    May I take just one moment, please, Your

  12     Honor?

  13                 THE COURT:    Um-hum.

  14                 MR. KAROTKIN:     Your Honor, could I?        The issue for the

  15     Court on the disclosure statement hearing is whether disclosure

  16     is adequate for people to make a decision.             It doesn't require

  17     that every single plan document be in final form --

  18                 THE COURT:    No, I know.      I know.

  19                 MR. KAROTKIN:     -- for the disclosure statement

  20     hearing.     Mr. Troy, to stand up here and say that he needs that

  21     final document in order for him to make an informed decision on

  22     how to vote for the plan, he'll see that document on March

  23     11th.    He'll have forty-five days to review that document to

  24     make a decision whether to vote yes or no.             I believe he's

  25     certainly competent during that period of time to make a

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   1     reasoned decision based on that document.

   2                THE COURT:     No, he is.      He is.    And if Ms. Dumas tells

   3     me it just can't be done, I'm probably not going to make it

   4     impossible.    We're just trying to squeeze everybody.

   5     Everybody.    So I understand your point.

   6                Ms. Dumas?     Speaking to your committee.

   7                And Mr. Pascuzzi, we're going to get to you.

   8                MR. PASCUZZI:        Thank you.

   9                THE COURT:     Before 12:30.

  10                MS. DUMAS:     Your Honor, thank you for the opportunity

  11     to confer briefly with some of the consenting fire claim

  12     professionals.      And I must have missed, was there a concession

  13     by the United States that we don't have to file earlier than

  14     March 10th?

  15                THE COURT:     No.     No, I just asked you if you could do

  16     it.

  17                MS. DUMAS:     Okay.     All right.     There was a colloquy

  18     that I missed.

  19                THE COURT:     Oh, well, Mr. Karotkin was being a little

  20     bit of an advocate for your side, but --

  21                MS. DUMAS:     Well, we appreciate his advocacy, as --

  22                THE COURT:     What's the date?

  23                MS. DUMAS:     -- he appreciates ours.

  24                THE COURT:     Can you give me a date?

  25                MS. DUMAS:     So we'll give you the date of March 3rd.

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   1     That will give the United States a week to study the trust

   2     document and hopefully --

   3                THE COURT:     And everybody else who wants to.            Okay.    I

   4     mean, you're filing it, right?

   5                MS. DUMAS:     Yes.

   6                THE COURT:     You're filing it.        Okay.   Mr. Troy --

   7                MS. DUMAS:     Absolutely.

   8                THE COURT:     You squeezed a week out of them.

   9                MR. TROY:     Will that include the claims resolution

  10     procedures?    Because the March 10th is for both.               Prior to

  11     that, it's only a summary.

  12                THE COURT:     But can you live with it?

  13                MS. DUMAS:     Yes.    We can live with it.

  14                MR. TROY:     And you told me I have to live with the

  15     date, so I will.      Thank you.

  16                THE COURT:     Mr. Karotkin, despite your advocacy Ms.

  17     Dumas gave the other side a week.           Is it workable for you?

  18     You've already agreed to make some changes to the notice, and I

  19     know you don't want to turn the notice into a twenty-page

  20     document, nor do I.       Do you think we should amend the order

  21     also to reflect these things today, just for good order?

  22                MR. KAROTKIN:      It's fine with me.

  23                THE COURT:     Well, I mean, again, I hate to use words

  24     like transparent, because it's not my favorite word, but you

  25     and I and Ms. Dumas have spent a lot of time together, but

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   1     there are an awful lot of people out in the world that are

   2     aware of what we're trying to do, and I don't like these secret

   3     orders.

   4                So I told you that I will not require you to run a

   5     revised notice by me.        You need to go on that.        You can submit

   6     an amended order establishing the schedule that picks up the

   7     things we talked about, and that will take care of that.

   8                MR. KAROTKIN:      We can do that.

   9                THE COURT:     Okay.    Mr. Pascuzzi.      And then, again, I

  10     want to try to get done here in a hurry, but you've been

  11     patient.

  12                MR. PASCUZZI:      Thank you, Your Honor.         Paul Pascuzzi,

  13     Felderstein Fitzgerald Willoughby Pascuzzi & Rio, for the

  14     California State agencies.         Your Honor, I appreciate Mr. Troy's

  15     clarifications with the Court and the scheduling.                I just want

  16     to remind the Court, the State agencies have the classification

  17     issue as well --

  18                THE COURT:     No, I know that.

  19                MR. PASCUZZI:      -- with regard to the fire claims.

  20                THE COURT:     And are you in a position to indicate in

  21     advance whether you're even going to vote on the plan?

  22                MR. PASCUZZI:      Not at this time, Your Honor.

  23                THE COURT:     You're not in a position to indicate it.

  24                MR. PASCUZZI:      Correct, Your Honor.

  25                THE COURT:     Okay.    But I'll just put it out there for

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   1     you to consider and ask you to consider.              That's all.     Again,

   2     I'm not trying to leverage you.           I don't think it would be

   3     appropriate.        But I wouldn't want to waste time on discussions

   4     about estimating for voting purposes for somebody that isn't

   5     going to vote.

   6                MR. PASCUZZI:       Well, Your Honor, part of our claims,

   7     fire claims, are in the general unsecured unimpaired class.

   8     Some of them aren't.

   9                THE COURT:      Right.

  10                MR. PASCUZZI:       So the debtors can fix it and eliminate

  11     the issue by putting us where we belong, with the other general

  12     unsecured creditors.

  13                THE COURT:      Well, but that gets --

  14                MR. PASCUZZI:       But we'll brief that issue.

  15                THE COURT:      But that gets it to the classification

  16     issue.

  17                MR. PASCUZZI:       It does.

  18                THE COURT:      And I understand.

  19                MR. PASCUZZI:       It does, Your Honor.

  20                THE COURT:      Yes.

  21                MR. PASCUZZI:       And so my understanding is we're going

  22     to meet and confer and file a Rule 3013 motion, and none of the

  23     deadlines that are already established --

  24                THE COURT:      Right.     And I said -- and I'm going to go

  25     along with pretty much what you -- particularly the two

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   1     governmental -- federal and state agencies and the debtor work

   2     out and make it work.

   3                MR. PASCUZZI:      Thank you.

   4                THE COURT:     Okay.

   5                MR. PASCUZZI:      Thank you, Your Honor.

   6                THE COURT:     And I see Ms. Winthrop standing up, so is

   7     she going to tell me the same thing, and I'll say the same

   8     thing.

   9                Ms. Winthrop, good morning or good afternoon.

  10                MS. WINTHROP:      Good afternoon, Your Honor.          Rebecca

  11     Winthrop of Norton Rose Fulbright on behalf of the Adventist

  12     claimants.    And I always appreciate coming to these hearings,

  13     because I learn something new.

  14                THE COURT:     So do I.

  15                MS. WINTHROP:      So just to be clear.        There's now a

  16     shorter version of the trust agreement and trust procedures

  17     that is going to be filed on the summary of fire victim claim

  18     resolution procedures on the 21st.

  19                THE COURT:     Well, you saw that order, right, from

  20     February 6th?

  21                MS. WINTHROP:      Yes.    That's what I'm looking at.

  22                THE COURT:     And the notice.       Well, the notice and the

  23     order, or Mr. Karotkin and I just got a little bit of cross-

  24     purposes, but the order said summary of resolution procedures,

  25     but it wasn't in the notice.

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   1                MS. WINTHROP:      Yes.

   2                THE COURT:     But I told him that I wanted it in the

   3     notice, and then there was this other thing that's referenced

   4     in the plan called fire victim claim plan treatment summary,

   5     and that's a separate document, but they're compatible.

   6                MS. WINTHROP:      Right.    So there are supposed to be two

   7     different documents, but I don't get the second document until

   8     the 28th, which is the same day I'm supposed to raise any

   9     objections to the debtor.

  10                THE COURT:     Correct.

  11                MS. WINTHROP:      So that's what I'm trying to

  12     understand.    How do I raise any concerns I have with respect to

  13     the document that we understand -- or discussed today.

  14                THE COURT:     Again, we're all back to, is it going to

  15     influence your vote?

  16                MS. WINTHROP:      It could, Your Honor.

  17                THE COURT:     Then I'll take your word for it.            Then I

  18     guess if you don't have the summary, and it's your deadline to

  19     file, file your -- you don't file.           You serve.

  20                MS. WINTHROP:      Right.

  21                THE COURT:     Do it, and then amend it when you get

  22     something more.

  23                MS. WINTHROP:      Okay.    Right.

  24                THE COURT:     We're not going to throw you out if you

  25     met (sic) a deadline that you couldn't meet because you don't

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   1     have the document.       But presumably the summaries are going to

   2     give you a clue.

   3                MS. WINTHROP:      I am hoping, Your Honor, because the

   4     disclosure statement currently doesn't seem to have that level

   5     of information, but I was also concerned because at the last

   6     hearing you said if you don't file -- the in-crowd, if you

   7     will, of the group that are listed on your order on page 3 of

   8     5 -- you said if you don't raise your objection by the 28th,

   9     you're out, so --

  10                THE COURT:     Well, that was too strong.

  11                MS. WINTHROP:      Okay.

  12                THE COURT:     But the point is this is such a fluid

  13     process that next week Mr. Karotkin might tell me there's

  14     something else we have to fit in here.

  15                MS. WINTHROP:      Absolutely, Your Honor.

  16                THE COURT:     I mean, we're all moving together.            And

  17     I'll put the same question.         You don't have to answer, but

  18     think about it.      Is your client going to vote?          And if your

  19     client chooses not to vote, well, maybe it's not as important

  20     for you for estimation purposes, but I'll just leave it open as

  21     something that we don't want to get bogged down on a voting

  22     motion if that is relevant.

  23                MS. WINTHROP:      Your Honor, and for us, a lot has to do

  24     with what's in those trust agreements --

  25                THE COURT:     Of course.

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   1                MS. WINTHROP:      -- and procedures, and we are hoping

   2     to -- we don't want to prejudge something we haven't seen, and

   3     we want to continue to work cooperatively with everyone else,

   4     but we do think that it's important to keep the concept of

   5     estimation for voting purposes alive.

   6                THE COURT:     Yes.    It's alive.

   7                MS. WINTHROP:      Great.     Thank you, Your Honor.

   8                THE COURT:     Thank you.      Anyone else want to be heard?

   9                MS. DUMAS:     Your Honor, Cecily Dumas.

  10                THE COURT:     Ms. Dumas.

  11                MS. DUMAS:     May I have just one more moment?

  12                THE COURT:     Yes, ma'am.

  13                MS. DUMAS:     Ms. Riddle helpfully reminded me that I

  14     should make it clear, because people are coming up to the

  15     podium and need to understand.          We will file the resolution

  16     trust agreement, as promised a few minutes ago, by March 3rd,

  17     together with the draft claims resolution procedures.

  18                As I said at a previous hearing, that document will

  19     very likely not be final -- in final final form by then but

  20     with the information we have at that time, and I can almost

  21     predict that it will be a living document that will continue to

  22     be worked on up until plan confirmation.

  23                THE COURT:     Listen.      I suspect we will have living

  24     documents up to confirmation.

  25                MS. DUMAS:     Thank you, Your Honor.

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   1                 THE COURT:    And I understand that.         And look.     I

   2     expect every lawyer representing a client who has to cast a

   3     vote or chooses to cast a vote, just be mindful of that.

   4     Again, I hate to use analogies, but if you haven't decided

   5     whether you like Bernie Sanders or Elizabeth Warren or Pete

   6     Buttigieg, and you live in New Hampshire, you figure out who to

   7     vote for.    And it doesn't mean that you've picked the

   8     president.     It just means who you voted for on that day for

   9     that choice.

  10                 Yes, sir?

  11                 MR. MITCHELL:     Good afternoon, Your Honor.          Sean

  12     Mitchell from Paul, Weiss, Rifkind, Wharton & Garrison on

  13     behalf of the California Public Utilities Commission.

  14                 THE COURT:    Yes, Mr. Mitchell.

  15                 MR. MITCHELL:     We were talking a little bit about the

  16     classification of governmental claims.

  17                 THE COURT:    Yes.

  18                 MR. MITCHELL:     And the Commission has raised the issue

  19     of the classification of some of its claims with the debtor.

  20                 THE COURT:    Correct.

  21                 MR. MITCHELL:     And that dialogue remains ongoing.            And

  22     we're also working with the parties on the briefing schedule

  23     and reserve the right to participate if needed.

  24                 THE COURT:    Well, the Commission doesn't have a claim,

  25     though, right?      Do you have a claim on file?

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   1                 MR. MITCHELL:     Yes.    The Commission has filed a proof

   2     of claim.

   3                 THE COURT:    Oh, I --

   4                 MR. MITCHELL:     That's correct.

   5                 THE COURT:    Again, I haven't reviewed all 70,000

   6     claims.

   7                 MR. MITCHELL:     Yes.

   8                 THE COURT:    No, I didn't know that.          Okay.   Well,

   9     that's fine.

  10                 MR. MITCHELL:     Yes.    Okay.

  11                 THE COURT:    You keep doing that.

  12                 MR. MITCHELL:     Thank you.

  13                 THE COURT:    Good.    Thank you.

  14                 All right.    Anyone else?        All right.    I'm going to

  15     thank you all for your time and efforts, and I will look

  16     forward to seeing you, those of you who come next week.                 Have a

  17     nice weekend, everyone.        Thank you for your time.

  18             (Whereupon these proceedings were concluded at 12:24 PM)

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   3     Mr. Abrams' motion for reconsideration is                        80   18

   4     denied

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   1                             C E R T I F I C A T I O N

   2

   3     I, Michael Drake, certify that the foregoing transcript is a

   4     true and accurate record of the proceedings.

   5

   6

   7

   8     ________________________________________

   9     /s/ MICHAEL DRAKE, CER-513, CET-513

  10

  11     eScribers

  12     7227 N. 16th Street, Suite #207

  13     Phoenix, AZ 85020

  14

  15     Date:    February 12, 2020

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